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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW MEXICO

JAN H. C. GOODWIN,
Former Executive Director, New Mexico Educational Retirement Board,

                    Plaintiff,
v.                                                     Case No. 1:21-cv-00483-JHR-KK

GOVERNOR MICHELLE LUJAN GRISHAM,
individually and as Governor of the State of New Mexico;
STATE OF NEW STATE OF NEW MEXICO
OFFICE OF THE GOVERNOR; NEW MEXICO STATE
DEPARTMENT OF FINANCE AND ADMINISTRATION (DFA);
DEBORAH K. ROMERO, individually and as Cabinet Secretary
of DFA; NEW MEXICO STATE RISK MANAGEMENT
DIVISION (NMRMD); MARK TYNDALL, individually and as
Director of NMRMD; NEW MEXICO EDUCATIONAL RETIREMENT
BOARD (NMERB); RUSSELL GOFF, LARRY MAGID,
MARY LOU CAMERON, DONALD DUSZYNSKI, RYAN STEWART and
ADAN DELGADO, TIM EICHENBERG and STEPHANIE M. RODRIGUEZ
individually and as Trustees of the NMERB; STEVEN GLUCKSTERN,
individually and as former Trustee of the NMERB; and YET-TO-BE-IDENTIFIED
CO-CONSPIRATORS, ENABLERS AND/OR AGENTS,

                    Defendants.

  FIRST AMENDED COMPLAINT FOR VIOLATION OF THE NEW MEXICO FAIR
 PAY FOR WOMEN ACT, NMSA 2016, SECTION 28-23-1, ET SEQ.; FOR VIOLATION
  OF THE EQUAL PAY ACT OF 1963, 29 U.S.C., SECTION 206(d); FOR RELIEF IN
   ACCORDANCE WITH THE LILLY LEDBETTER FAIR PAY ACT OF 2009; FOR
     GENDER AND RACE DISCRIMINATION and ILLEGAL RETALIATION IN
VIOLATION OF THE UNITED STATES CIVIL RIGHTS ACT OF 1964 and THE NEW
 MEXICO HUMAN RIGHTS ACT; FOR AGE DISCRIMINATION IN VIOLATION OF
THE UNITED STATES AGE DISCRIMINATION IN EMPLOYMENT ACT OF 1967 and
   THE NEW MEXICO HUMAN RIGHTS ACT; FOR VIOLATION OF 42 UNITED
  STATES CODE, SECTION 1983, and THE FOURTEENTH AMENDMENT TO THE
   UNITED STATES CONSTITUTION; FOR VIOLATION OF THE DUE PROCESS,
    EQUAL PROTECTION and SEX DISCRIMINATION CLAUSES OF THE NEW
      MEXICO CONSTITUTION; FOR VIOLATION OF THE NEW MEXICO
     WHISTLEBLOWER PROTECTION ACT; FOR BREACH OF THE IMPLIED
     COVENANT OF GOOD FAITH AND FAIR DEALING; FOR INTENTIONAL
            INTERFERENCE WITH EMPLOYMENT CONTRACT;
         FOR INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS;
       FOR BREACH OF FIDUCIARY DUTY and FOR CIVIL CONSPIRACY
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       COMES NOW the Plaintiff, Jan H. C. Goodwin, by and through her legal counsel, Merit

Bennett, Esq., of The Bennett Law Group, LLC, and for her amended complaint against the

Defendants, states as follows:

                                        JURISDICTION

       1.      The Plaintiff brings this action pursuant to the United States Constitution, the New

Mexico Constitution, the United States Equal Pay Act of 1963, the Lily Ledbetter Fair Pay Act of

2009, the United State Civil Rights Act of 1964, the New Mexico Fair Pay for Women Act, the New

Mexico Human Rights Act, the New Mexico Whistleblower Protection Act, the United States Age

Discrimination in Employment Act, Section 1983 of Title 42 of the United States Code and New

Mexico Contract and Tort Law.

       2.      Jurisdiction over the federal claims is proper under 28 U.S.C. § 1331. The Court has

supplemental jurisdiction over state law claims, including those arising from the New Mexico

Constitution, the New Mexico Fair Pay for Women Act, the New Mexico Human Rights Act, the

New Mexico Whistleblower Protection Act and other state tort claims pursuant to 28 U.S.C. § 1367.

Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b).

                                           PARTIES

       3.      Plaintiff Jan H. C. Goodwin (hereinafter “Plaintiff” or “Ms. Goodwin”) is a female

over forty (40) years of age (now 61 years old) who was recently forced to terminate her

employment (constructively discharged by forced resignation) with the State of New Mexico, ex rel.

the New Mexico Educational Retirement Board (“NMERB” or “ERB”) as its Executive Director,

for which position she has been employed since March of 2008. At all times relevant herein, Ms.

Goodwin was a resident of Santa Fe, Santa Fe County, New Mexico


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       4.      Defendant Michelle Lujan Grisham (hereinafter “Governor Lujan Grisham,”

“Governor” or “Lujan Grisham” or the “State” or “state government” or one of “Defendants”) is and

was, at all relevant times herein since January 1, 2019, the Governor of the State of New Mexico,

acting at all times herein as Governor on behalf of the State of New Mexico and/or individually

under color of state law. Any reference to this Defendant shall also be deemed to be a reference to

the Defendant State of New Mexico Office of the Governor.

       5.      Defendant State of New Mexico (also herein the “State” or “state government” or one

of “Defendants”) is the governmental entity employing all other named Defendants whose acts

and/or omissions described hereinbelow were accomplished under color of state law and therefore

have obligated the State for responsibility and liability for their misconduct, pursuant to the doctrine

of respondeat superior and pursuant to 42 U.S.C., Section 1983.

       6.      Defendant State of New Mexico Office of the Governor (also herein “Office of the

Governor,” “The Office of the Governor,” “Governor,” “State of New Mexico” and/or “State”) is

a New Mexico state governmental entity by and through which the Governor (including Defendant

Michelle Lujan Grisham and the governors of preceding administrations) and the Governor’s cabinet

secretaries exercise the authority and perform the duties of the office of the Governor of the State

of New Mexico. At all times herein, any reference to Governor Lujan Grisham, to the “Governor,”

to any cabinet secretary or to any other appointee of the Governor shall also be reference to, and

shall therefore also bind to the liability established herein, The Office of the Governor as a separate

and distinct governmental entity of the State of New Mexico.

       7.      Defendant New Mexico Department of Finance and Administration (“DFA” or the

“State” or “state government” or one of “Defendants”) is a New Mexico state governmental entity


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whose acts and/or omission described hereinbelow have obligated the State for responsibility and

liability for its misconduct.

        8.      Defendant Deborah K. Romero (hereinafter also referred to as “DFA,” “Defendant

Romero,” “Secretary Romero,” “DFA Secretary Romero,” “cabinet secretary” or one of

“Defendants”) is currently the Cabinet Secretary of DFA, appointed by, and acting at all times on

behalf of, with regard to all related matters herein, Governor Lujan Grisham and/or the State and/or

herself under color of state law, whose acts and/or omissions described hereinbelow have obligated

DFA and/or the State and/or the Office of the Governor and/or the Governor for full responsibility

and liability for Secretary Romero’s individual (and/or one or more of the named Defendants’

collective) misconduct.

        9.      Defendant State of New Mexico Risk Management Division (“NMRMD, “RMD”

or the “State” or “state government” or one of “Defendants”) is a New Mexico state governmental

entity whose acts and/or omission described hereinbelow have obligated the State for responsibility

and liability for its misconduct. Defendant Mark Tyndall (also referred to as “NMRMD,” “RMD,”

the “State,” “Defendant Tyndall” or one of “Defendants”) is the Director of RMD and at all times

herein was acting under color of state law and breached the duty he and NMRMD owed to Plaintiff

by failing to intervene and prevent and/or correct the harm being inflicted upon Plaintiff as is

described hereinbelow.

        10.     Defendant New Mexico Educational Retirement Board (hereinafter “NMERB” or

“ERB” or the “State” or one of “Defendants”) is a New Mexico state governmental agency which

administers the retirement investment portfolio of New Mexico state teachers, school administrators




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and school employees and is also included as a defendant herein to, among other things, insure the

enforceability of any judgement awarded to Plaintiff.

        11.     Defendants Steven Gluckstern (former Trustee), Russell Goff, Larry Magid, Mary

Lou Cameron, Donald Duszynski, Ryan Stewart, Adan Delgado, Tim Eichenberg and Stephanie M.

Rodriguez (hereinafter individually and collectively also referred to as “Defendants” or “NMERB”

or “ERB” or “NMERB Trustees” or “NMERB Board Trustees” or “Board Trustees” or “Trustees”)

are former and current members of the Board of Trustees of NMERB and, at all times and for all

matters referenced hereinbelow, were acting at all times on behalf of themselves (and/or their

predecessors), NMERB and/or the State of New Mexico, under color of state law.

        12.     Defendants State of New Mexico, Office of the Governor, DFA, RMD and NMERB

are separate and distinct entities/offices/agencies of the government of the State of New Mexico,

each with the power to recommend, approve, deny, adjust and/or influence the amount of

compensation paid to the Executive Director of the NMERB, i.e., to Plaintiff herein Jan Goodwin,

and at issue herein is the failure of one or more or all of these entities/offices/agencies to afford Ms.

Goodwin pay equal to that paid to her male counterpart for her equal work.

        13.     Defendants Yet-to-be-identified Co-conspirators, Enablers and/or Agents are those

individuals and/or state agencies who may have engaged in, enabled and/or facilitated the

accomplishment of, any of the misconduct described below, either unilaterally or acting as an agent

of another named Defendant, which caused Plaintiff to suffer the harm or damage described. Any

reference to “Defendant” or “Defendants” also includes reference to these other yet-to-be-identified

individual actors and/or agents and/or enablers and/or co-conspirators of one or more or all of the

named Defendants.


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                                      ESSENTIAL FACTS

Plaintiff Jan H. C. Goodwin:

       14.    Ms. Goodwin is, among her other educational degrees, professional certifications and

other accomplishments, a Certified Public Accountant and a Member of the American Institute of

Certified Public Accountants, with a Bachelor’s Degree in Environmental Science (Wesleyan

University), a Master’s Degrees in Business Administration (New York University), and a Master’s

Degree in Health Administration (University of New Mexico), with certifications as a Certified

Employee Benefits Specialist (International Foundation of Employee Benefit Plans) and Certified

with the Information Techology Infrastructure Library (ITIL) Foundation.         See   Plaintiff’s

curriculum vitae attached hereto as Exhibit A.

       15.    Ms. Goodwin was born in Albany, New York, and her first consequential

employment was with Coopers & Lybrand in New York City (1985-1993), before it merged with

Price Waterhouse, as a Senior Associate (Financial Advisory Services) and Supervisor (Personal

Financial Services). She then became Vice President and an Investment Analyst/Compliance

Officer with Arbor Capital Partners in New York City (1993-1994).

       16.    In 1993, Ms. Goodwin met her husband, who was a resident of Santa Fe, and married

in 1994, becoming herself a resident of Santa Fe.

       17.    From 1994 to 1996, Ms. Goodwin served as a Senior Consultant for Summit Equity,

Inc., in Santa Fe and in London, England.

       18.    Ms. Goodwin was employed as the Cash Management and Investment Officer for the

City of Santa Fe from 1996 to 1998.




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         19.    Ms. Goodwin was first employed with the State of New Mexico as the Deputy

Director of the State Investment Council in 1998, accountable for the financial, administrative and

information technology functions of the agency managing and investing New Mexico’s permanent

endowment funds, for the preparation of investment accounting reports of the State Investment

Council and external clients and to establish and maintain effective controls to safeguard managed

funds.

         20.   In 2000, Ms. Goodwin was appointed to the position of the Director for the State

Board of Finance, where she administered the State of New Mexico’s major severance tax bonds

and general obligation bond programs. She also directed the work of numerous external economists

and professionals, including attorneys, financial advisors and economic consultants. She also

directed the research for all matters to be brought before the State Board of Finance, including such

topics as new programs for state universities, major real estate purchases and sales by public entities,

major construction contracts for state entities, awarding emergency grant money and issuing of debt

by state agencies and institutions of higher education, all in order to brief the Board members on the

specifics of each of the transactions requiring their approval.

         During the performance of these duties, Ms. Goodwin uncovered unusual patterns of

investment transactions at the State Treasurer’s Office, many of which violated the State Treasurer’s

investment policy, and forwarded her findings to the Federal Bureau of Investigation (FBI) for

further investigation, thereby preventing the State and its citizen taxpayers from wasting millions

of dollars investing in corrupt transactions and practices.




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       Ms. Goodwin also provided oversight to the State Treasurer’s office responsible for the

investment of $4 billion, including the State general fund, bond proceeds and the local government

investment pool.

       21.     Because of her unsurpassed education, experience and acumen, and her committed

service to and her extraordinary beneficial performance for the citizens of our state, Ms. Goodwin

was appointed by Governor-Elect Bill Richardson to be Cabinet Secretary for Taxation and Revenue

in December of 2002, and began serving in that capacity January 1, 2003. She was responsible for

collecting and distributing over $7 billion annually in taxes and fees to state and local governments,

with approximately 1,200 employees and 60 offices across the state. She was responsible and

accountable for the agency’s $84 million operating budget. She was the first Cabinet Secretary in

many years in New Mexico to make on-site visits to all 60 department offices across the state.

       Ms. Goodwin’s extraordinary service to the citizens of our state resulted in many tangible

benefits to the public at large, including, but not limited to:

       - Reducing the average wait time at motor vehicle offices across the state by more
       than 50% (from 30 minutes to 14 minutes), by launching strategic, multi-faceted
       campaigns, encouraging the public to complete their need for services online via the
       DMV website, installing self-service kiosks in every MVD office and installing
       greeters to ensure that customers had completed all required paperwork to process
       their desired transactions.

       - Overseeing implementation of software for 28 tax programs which replaced the
       former system, in order to allow for more accurate tax revenue collection, refunds
       and distribution.

       - Cutting the state’s uninsured driver rate from one of the highest in the U.S. (at
       32%) to less than the national average (at 12%), thus funding protection for our
       citizens injured by the negligence of uninsured motorists throughout our state.

       - Executing a new initiative designed to improve delinquent tax collections,
       collecting a total of $395 million (58% above the $250 million baseline), in order for
       the state to be better able to fund essential services for all of its citizens.

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       - Improving the formerly contentious relationship between the State’s Tax
       Department and the State’s Society of Certified Public Accountants by establishing
       a dedicated customer service line with the audit and compliance division (tax
       practitioner’s hotline) and by conducting regular outreach meetings, so that the
       state’s tax accounting practitioners could better serve the general public and provide
       them with the maximum available tax benefit at the minimum legal tax rate.

       - Eliminating the conditions that caused the qualified audit opinions on the
       department’s financial statements which had existed for more than 15 years, thereby
       providing more clear accountability to our citizen taxpayers for the expenditure of
       their tax dollars.

Illegal Pay Disparity:

       22.     In March of 2008, Ms. Goodwin, then 48 years old, was appointed to serve as the

Executive Director of the Educational Retirement Board for the State of New Mexico (“NMERB”).

       23.     It was Ms. Goodwin’s job to secure the funding for the retirement of all of the public

school teachers of New Mexico who dedicated their lives to the education of our elementary, high

school and state college youth. Her expertise and dedication to this work over the last 13 years has

insured that our state’s education retirement fund was always profitable and secure.

       24.     Her appointment was unfortunately marred by the fact that she was to be paid an

annual salary approximately $13,000.00 less than that of her male counterpart, then Executive

Director of the New Mexico Public Employees Retirement Association (“PERA”) Mr. Terry

Slattery, who was then approximately 10 years older than Ms. Goodwin. These two jobs required

equal skill, effort and responsibility and were both performed under similar working conditions.

There were no differences between these two job positions because of a seniority system.

       25.     In August of 2009, Ms. Goodwin’s annual salary was finally increased to an amount

comparable to that paid to Mr. Slattery, an acknowledgment by the Defendants that she had not been

receiving pay equal to that paid to her male counterpart, that such pay disparity was illegal and that


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the illegal disparity required correction. Despite this acknowledgment, Ms. Goodwin’s deficient

back pay was not addressed by the Defendants, nor corrected by payment of the difference for which

she should have received for those 18 months. Since that time until the present, such pay disparity,

which has continually manifested, in varying degrees, in Ms. Goodwin’s unequal compensation for

work she was performing equal to that of her male peers, has been continuous and ongoing and

constitutes accumulating violations of state and federal anti-discrimination and equal pay laws which

prohibit such pattern and practice of institutional and systemic gender, age and race discrimination

directed at Ms. Goodwin since from, at the very least, March of 2008; and therefore, because the

disparity in her pay has never been consistently corrected and still exists to the date of Ms.

Goodwin’s recent forced termination, Ms. Goodwin is now entitled to receive payment in an amount

reflecting the total accumulation of any such illegally-withheld differential paycheck amounts,

together with statutory interest accruing from the date each of such differential amounts were

illegally unpaid.

       26.     In April of 2010, Mr. Steven Moise was hired as the New Mexico State Investment

Council’s (NMSIC’s) Senior Investment Officer, to be paid an annual salary of over $100,000.00

more than that paid to Ms. Goodwin as Executive Director of the NMERB. These two jobs

require equal skill, effort and responsibility and were both performed under similar working

conditions. There were no differences between these two job positions because of a seniority

system. Notwithstanding this enormous, unconscionable and obviously illegal disparity, Ms.

Goodwin’s salary was not increased by Governors Richardson, Martinez nor Lujan Grisham, nor

by DFA, RMD, NMERB nor NMERB’s Trustees, to match that of Mr. Moise, a male approximately

10 years older than Ms. Goodwin, despite the fact that their two jobs required equal skill, equal


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effort and equal responsibility and were performed under similar working conditions and that there

were no differences between these two job positions because of any seniority system.

       27.     In fact, at the time of his appointment, Mr. Moise did not have the professional

experience required by New Mexico statute (“at least [five (at that time)] years of investment and

executive experience to direct the work of the investment office” - see NMSA 1978, Section 6-8-4)

in order to qualify him for employment as the state’s chief investment officer - to be able to even

assume the position, but his illegal appointment was nevertheless accomplished by then Governor

Bill Richardson and was duly ignored by Governor Martinez throughout her tenure and by

Defendant Governor Lujan Grisham upon her taking office. (Defendant Lujan Grisham, and by

implication all Defendants, was/were formally requested to cure the enormous pay disparity

between Mr. Moise and Ms. Goodwin, and all Defendants knew that Ms. Goodwin was clearly

more qualified than Mr. Moise and had consistently produced better results for the

educational employees of the State of New Mexico than had Mr. Moise, under the scrutiny of

any reasonable comparative analysis. Again see Plaintiff’s curriculum vitae attached as

Exhibit A and paragraphs 21-23 of this Complaint, infra.)

       28.     It is important to note that Mr. Moise only oversees the management of investment

portfolios, while Ms. Goodwin not only oversees the management of investment portfolios, she also

performs retirement plan administration providing financial security for all of the public education

employees within the State of New Mexico in their retirement.

       29.     When comparing the accomplishments of the two agencies overseen by Ms.

Goodwin and Mr. Moise, it becomes crystal clear that the work performed by Ms. Goodwin

is more complex, more demanding, requires more competence and overall has produced equal


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or better results for the state of New Mexico and for ERB’s state employee constituents. See

Comparison of the Service and Performance of the NM State Investment Council Under Steven

Moise Measured Against the Performance of the NM Educational Retirement Board Under Jan

Goodwin, attached hereto and incorporated herein as Exhibit B.

       30.      And finally, NMERB, under the management of Ms. Goodwin, has consistently

outperformed the State Investment Council while the NMSIC has been under the management

of Mr. Moise.

       - Ms. Goodwin has successfully led three legislative initiatives to increase ERB’s
       sustainability and increase equity among plan members.

       - Ms. Goodwin has significantly increased the use of cost-effective investment
       strategies, including internal management of investments, saving tens of millions of
       dollars every year she has been in office.

       - Ms. Goodwin commissioned a report by the University of New Mexico’s Bureau
       of Economic Research to document and quantify the disparity in the salaries and
       pension benefits of the state’s educational employees (predominately female) with
       those of other state employees (until recently, predominately male) over time.

       - Ms. Goodwin has implemented numerous policies to improve transparency in
       financial reporting.

       See also the Legislative Finance Committee Investment Report For the Quarter Ending June

30, 2018, attached as Exhibit C. (“When compared with peer funds greater than $1 billion on

a net-of-fee basis, the ERB fund [under the direction of Plaintiff Ms. Goodwin] performed in

the highest quartile for the quarter, three-year, and ten-year periods, and it performed above

the median for the one-year and five-year periods.” Id., at p. 1.)

       See also New Mexico Legislative Finance Committee, Legislating for Results: Policy and

Performance Analysis; Report to the Fifty-Fourth Legislature, Second Session, Volume I, attached



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as Exhibit D. (“The ERB pension fund was the only one of the state’s investments to perform

above the median for all periods reported.” Id., at p. 21.)

       31.     That this illegal pay disparity between Mr. Moise and Ms. Goodwin has been publicly

and privately exposed and known by the administrations of Governors Richardson, Martinez and

Lujan Grisham (and by DFA and NMERB, and their respective Secretaries/Trustees) to continue

to exist is truly outrageous, not only because Mr. Moise’s original appointment was illegal because

of his lack of qualification (and remains illegal notwithstanding the passage of time), but also

because Ms. Goodwin is demonstrably more qualified and deserving than Mr. Moise, in terms of

education, experience and on-the-job performance. It appears that the current Governor and

other named Defendants are giving discriminatory deference to Mr. Moise and concomitant

disparagement to Ms. Goodwin because Mr. Moise is an older male, because Ms. Goodwin is

a younger female close to the age of the Governor and because Ms. Goodwin is a Caucasian

female, while the Governor is a Hispanic female who, by statute, is paid far less than Ms.

Goodwin (thus also infusing the discrimination being perpetrated against Ms. Goodwin with

a racially-motivated bias).

       32.     Accordingly, the reason for this discriminatory pay disparity can only be attributed

to illegally prohibited discrimination based upon race and/or gender and/or age.

       33.     And, in any event, even in the absence of any proof of any illegal discriminatory

intent (although such proof is considerable, and compelling), the single fact that Ms. Goodwin

is not being paid equal pay for equal work establishes that there are clear and incontestable

violations of the New Mexico Fair Pay For Women Act, NMSA 2016, Section 28-23-1, et seq.,




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and the Equal Pay Act of 1963, 29 U.S.C., Section 206(d), neither of which Acts require proof

of a discriminatory intent - only proof that the pay disparity exists.

       34.      In fact, the Defendants have tacitly and openly admitted the existence of this illegal

disparity for the last five years, yet continued to discriminate against and underpay Plaintiff over the

years of her employment with the State, notwithstanding, and likely also in retaliation for, Plaintiff’s

ongoing complaints of unequal pay and her continual efforts to have the State correct the disparity.

       A.      On June 24, 2016, the Defendant Educational Retirement Board duly voted and

approved an increase in Plaintiff’s salary, to be phased in over three years, to attempt to

narrow the illegal pay gap she had been experiencing vis-a-vis Mr. Moise, which increase was

never implemented by the New Mexico Department of Finance and Administration (“DFA”)

at the direction of then Governor Susana Martinez. This increase in Plaintiff’s salary would have

moved her pay level from the bottom of the fourth (lowest) quartile to that of the median range for

other directors of similarly-sized United States public pension plans.

       B.      On December 8, 2017, and on May 3, 2018, the NMERB again voted to increase

Plaintiff’s salary to almost correct the disparity (this vote was a protected complaint of

discrimination (hereinafter “protected complaint”) made on behalf of Plaintiff), and both

efforts were again illegally “vetoed” by Governor Martinez via DFA (retaliation against

Plaintiff for this protected complaint), without any citation to any authority she might have

to do so (because no such authority exists). See letter dated April 25, 2018, from Mary Lou

Cameron, Chair of the Board of Trustees, New Mexico Educational Retirement Board, addressed

to Duffy Rodriguez, Cabinet Secretary for the New Mexico Department of Finance and

Administration (DFA), pointing out DFA’s illegal failure to implement the equalization of Ms.


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Goodwin’s pay and advising that there was no legal basis for such discriminatory inaction (another

protected complaint made on behalf of Plaintiff), attached as Exhibit E.

              ... [T]he [ERB] Board maintains that any effort by DFA [ex. rel the
              Governor] or its employees to veto, undo or override the decisions and
              actions of the [ERB] Board on salaries [including that of Jan Goodwin] is
              unlawful and invalid. Id., at page 2. Emphasis supplied.

       C.       On May 24, 2018, the NMERB once again voted to increase Plaintiff’s salary to

almost correct the disparity and notified DFA to implement this increase (another protected

complaint). See Exhibit F. (None of these efforts initiated by NMERB (6/24/2016, 12/8/2017.

5/3/2018 and in 2019) either addressed or required that Ms. Goodwin’s historical pay disparity be

addressed and compensated.)

       D.       In early 2019, after Defendant Lujan Grisham took office, the NMERB

resubmitted the ERB Board-approved paperwork to increase Plaintiff’s salary to be “almost

equal” to that of Mr. Moise (another protected complaint), and DFA was this time instructed

by Defendant Governor Lujan Grisham not to implement the 46% raise necessary to almost

afford Ms. Goodwin with pay equal to her male counterpart, Mr. Moise (retaliation for this

protected complaint). (Only a 5% pay raise was implemented on May 8, 2019, ostensibly at the

direction of Defendant Lujan Grisham by which she clearly acknowledged the scale of the pay

disparity, but no other efforts to eliminate this illegal pay disparity have since been initiated,

undertaken or approved by the Governor or DFA to date (ongoing retaliation for this protected

complaint).

       In fact, when the 5% raise was approved, the Governor/DFA also increased Ms. Goodwin’s

salary pay range to be in the same salary pay range of Mr. Moise, yet, even with the 5% raise, Ms.

Goodwin’s actual salary was not even enough to be greater than the lowest salary in the pay range

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that she had just been approved for! And therefore the glaring pay disparity was known to all

Defendants.

       E.     Mr. Moise himself has admitted that Ms. Goodwin should be paid equal to him.

Mr. Moise confessed to Mr. Charles Wollmann, Director of Communications, Legislative and

Client Relations, New Mexico State Investment Council, that when he [Mr. Moise] was asked

in May of 2019 by John Bingaman, Governor Lujan Grisham’s Chief of Staff, if Ms.

Goodwin’s salary should be increased to a level virtually equal to the salary paid to Mr. Moise,

Mr. Moise replied to Mr. Bingaman by stating that Ms. Goodwin’s salary should indeed be

increased to an amount virtually equivalent to his salary, thus admitting that Ms. Goodwin’s

job was essentially, and at the very least, “equal” to that of Mr. Moise (that both of their jobs

required equal skill, effort and responsibility and were performed under similar working

conditions), requiring that there be an immediate upward adjustment of Ms. Goodwin’s salary

to insure that Ms. Goodwin received pay equal to that of Mr. Moise in accordance with state

and federal law.

       F.     In an email dated November 29, 2020, from Mark Baker, then attorney for the

NMERB, addressed to General Counsel for Defendant Lujan Grisham, Matt Garcia, on behalf

of NMERB and Plaintiff, Mr. Baker urged Mr. Garcia to advise Defendant Lujan Grisham

to not block the duly and legally approved pay raise for Plaintiff which was approved and

passed by the NMERB Board, because “I [Mr. Baker] view the ERB’s status as a

constitutionally-created board with an independent fiduciary duty to administer the

educational retirement fund, along with the fact that everyone is paid through ERB funds

rather than general fund money, as compelling reasons to look at this differently than other


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salary determinations ... I also see some disparities across the State’s three major funds – SIC,

PERA, and ERB, that warrant scrutiny.” See email dated November 29, 2020, from Mark Baker,

attached as Exhibit G. Emphasis supplied. This email, along with other verbal and written

communications emanating from Plaintiff and representatives of the ERB, constituted protected

complaints of illegal discrimination made to Defendants for and on behalf of Plaintiff.

        Despite this clear advice - and unequivocal warnings (protected complaints), the

Defendant Governor and the other Defendants nevertheless retaliated against Plaintiff by

continuing to refuse to permit Ms. Goodwin to be paid equal to her equivalent counterpart,

Mr. Moise, in direct violation of state and federal anti-discrimination and equal pay laws. In

fact, Defendant Governor Lujan Grisham exerted this illegal power over the independent NMERB

Board in the absence of any clear legal authority to do so, with the sole intent to discriminate against

Ms. Goodwin and deny her pay equal to that of her male counterpart because Ms. Goodwin is an

older, Caucasian woman.

NMERB Files Lawsuit:

        G.      Because Governor Lujan Grisham was conspiring with DFA to block pay raises

authorized by NMERB for its senior officials, including Plaintiff, and because the Governor

refused to cease her openly illegal misconduct, the NMERB was forced to file an extra-

ordinary intra-agency lawsuit on February 22, 2021, against Defendant Romero and DFA,

seeking declaratory relief to attempt to cure (not totally but, at least, substantially) this illegal,

and constitutionally impermissible, misconduct. See the Complaint filed by the NMERB

attached hereto as Exhibit H. (Hereinafter “NMERB Complaint”)




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        The NMERB Complaint does not address the civil rights issues raised herein, nor does it

accurately calculate the relevant pay disparity existing between Plaintiff and Mr. Moise, nor does

it seek retroactive correction of the pay disparity to its full legal extent, but it nevertheless

constitutes a tacit protected complaint of gender and age discrimination made on behalf of Plaintiff,

and other similarly-situated and underpaid female NMERB employees, and it constitutes

incontrovertible evidence that the current administration’s continued retaliatory defiance of any legal

restraint on its power, to include its blatant rejection of its obligation to adhere to fundamental equal

rights laws, is likely commonplace throughout this administration and is therefore perniciously

arrogant and tortiously illegal.

        NMERB must compensate professional staff [including Plaintiff] at competitive
        levels given the size of the fund, the sophistication required to competently manage
        and invest it, and national competition in the public and private sector for individuals
        qualified to do this work. NMERB Complaint, Exhibit H, at p. 3, para. 11.

        The Board has sole authority to employ the Director [Plaintiff], who is the
        administrative officer for the Board [and to establish her salary] charged with
        carrying out the provisions of the Educational Retirement Act and who has additional
        duties provided for by regulation. Moreover, the Legislature has specified that ‘[t]he
        amount of salaries and fees to be paid by the board [to Plaintiff] shall be fixed by the
        regulations of the board. NMSA 1978, Section 22-11-10(A).’ Id., at p. 3, para. 13.

        In accordance with its authority and responsibility, the Board adopted regulations
        providing that the Director [Plaintiff] serves ‘at the pleasure of the board and at a
        salary to be set by the board ... 2.82.1.13 NMAC.’ Id., at p. 3, para. 14

        The Governor does not have authority to interfere with the [NMERB] Board’s
        fiduciary obligations, including the Board’s determinations regarding
        appropriate salaries to pay NMERB staff [such as Plaintiff]. As a result, DFA
        never should have submitted NMERB salary increases to the Governor’s office for
        approval, and directives from the Governor’s office related to NMERB staff
        compensation [including denial of pay equity for Plaintiff, retroactively and
        prospectively] are not a basis for changing Board-approved decisions. Id., at pp. 10-
        11, para. 58. Emphasis supplied.




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       Plaintiff Jan Goodwin is specifically referred to in the NMERB Complaint as “Professional

Staff Member 3.” See Exhibit H, paras. 34-39, pp. 7-8.

       In particular:

       Para. 38.       DFA’s [illegal and discriminatory] failure to implement
       [NMERB]Board approved salary increases for Professional Staff Member 3
       [Plaintiff Jan Goodwin] resulted in Professional Staff Member 3 [Plaintiff Jan
       Goodwin] being underpaid by a total of $202,696.33. [This amount is less than,
       and does not account for, the total of the illegal disparity in pay (and lost benefits)
       accruing since Plaintiff’s appointment to serve as Director of NMERB, when
       compared to the salary paid to her equal pay/equal work equivalent, Steven Moise]
       Id., at p. 7. Emphasis supplied.

       Para. 39. Having served in New Mexico government with distinction for decades,
       Professional Staff Member 3 [Plaintiff Jan Goodwin] was prepared to take a higher-
       paying position with a public retirement fund outside New Mexico in March 2016.
       When the Board [NMERB] learned that Professional Staff Member 3 [Plaintiff Jan
       Goodwin] was being recruited for that position, Board members secured Professional
       Staff Member 3's [Plaintiff Jan Goodwin’s] agreement to remain at NMERB based
       on assurances that the Board would take care of the [illegal and discrimnatory]
       compensation discrepancy. Id.

       H.      In fact, Defendants Lujan Grisham and DFA Secretary Romero (who only

recently assumed office) and/or one or more of the other individual Defendants, singly or in

concert, and/or NMERB (if permitted by the Governor and DFA to exercise its authority)

could have immediately acted to correct the disparities referred to in the NMERB Complaint,

including the larger equal pay disparity claimed by Plaintiff herein, with a single stroke of the

pen, but she/they did not do so, and she/they continued to fail to do so, because all of them

(State of New Mexico, DFA and all named individual Defendants, acting under color of state

law), except for NMERB and its Trustees, willingly joined the conspiracy with Defendant

Lujan Grisham to muzzle pay equity in our state - specifically with regard to Ms. Goodwin,

thus ultimately forcing Ms. Goodwin to leave her employment with the State of New Mexico


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and move to another state in order to be compensated at the rate of pay which she deserved

for all of the many years of exemplary service she has delivered to the citizens of our state,

including especially our public school teachers, administrators and other employees who

ensure the safe and wholesome education of our children.

       It also was the duty of Defendants NMRMD and Mark Tyndall and RMD to pro-actively,

preemptively and retroactively assess, avoid and avert risks to state government such as those posed

by the illegal misconduct described throughout this Complaint, and yet these particular Defendants

also abjectly failed to advise the other Defendants of such risks or otherwise take action to insure

that such risks did not materialize in the form of the illegal harm ultimately inflicted upon Ms.

Goodwin as is set forth hereinabove, especially after the NMERB Complaint was filed in March

of 2021.

       The Governor’s and her administration’s silence in the face of the NMERB Complaint

constitutes a tacit admission by the Governor and her administration that they were deliberately

violating the New Mexico Fair Pay for Women Act and committing the other violations alleged

throughout this Complaint, yet the Governor instead abrogated her responsibilities to the citizens

of our state, knowing that her conduct in doing so was illegal, and even immoral, and would

consequently result in grave financial, emotional and professional harm to the Plaintiff and would

cause Plaintiff to resign her position with state government and leave her home state of NM to find

employment elsewhere. The Governor perpetrated this illegality also knowing that it would result

in financial harm to our state’s public school teachers and administrators.

       When the Governor, Defendant Romero and Defendant Tyndall and the other Defendants

all breached their duty(ies) owed to Plaintiff to ensure that Plaintiff was paid equal pay for her work


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which was equal to that performed by male state employees, such as Mr. Moise, by failing to

immediately correct Ms. Goodwin’s multi-year pay disparity after being served with the NMERB

Complaint (Exhibit H) (more retaliation for the protected complaints, included those embodied in

the NMERB Complaint), Ms. Goodwin then knew that she was being forced to resign

(constructively discharged - forced termination) her employment with the State of New Mexico in

retaliation for her protected complaints, because her home state government, while under the control

of the complicit individual Defendants, had no intention of ever curing the pay disparity that she had

endured for all of the years she served our citizens, and she therefore was compelled to accept the

offer of employment from New Hampshire, which provided her with a starting salary virtually equal

to that offered to men of equal qualifications throughout the United States, to include Mr. Moise in

New Mexico.

       This slow-moving tragedy should be unacceptable to any citizen of our state as it sets a

horrible precedent for the financial well-being of all hard-working women in our state who deserve

to be paid equal to men who perform equal work, and a warning message should be sent far and

wide by the jury hearing this case that such blatant, pervasive and institutional mistreatment of

highly-educated and highly-qualified female administrators, especially such as Ms. Goodwin, should

be rectified to the full economic and legal extent possible - punctuated by an additional award of

treble damages as is mandated by the New Mexico Fair Pay for Women Act in order to punish

discriminating offenders and to send a strong message to our institutions and businesses that the

historical gender pay disparities that pervade across our state must immediately cease.

       35.     Not only was Ms. Goodwin deliberately forced by the Defendants to seek

employment in another state because the Defendants refused to pay her at a rate equal to that of her



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male counterpart, Mr. Moise, Ms. Goodwin has also been forced to be physically separated across

the country from her husband and two adult sons who all had to stay behind in New Mexico when

Ms. Goodwin left to begin her new job in New Hampshire, which forced separation has

understandably inflicted severe and undeserved emotional distress on the whole family, especially

during the COVID-19 pandemic. The Defendants, individually and altogether, bear the full

responsibility for this foreseeable consequence of their unlawful, outrageous and frankly senseless

mistreatment of Ms. Goodwin, and all of them must be held fully accountable for this cold-hearted

and patently illegal misconduct. (The NMERB and its Trustees were the only Defendants who made

a good faith, albeit inadequate, effort to substantially correct the pay disparity.)

        36.     It might be understandable that the Governor’s better (and legal) angels have been

missing in action, because the Governor herself is being underpaid. In 2019, a Biz Journal (The

Business Journals) study showed that Governor Lujan Grisham was paid a base annual salary of only

$110,000.00 by the State of New Mexico, which makes her the 39th-highest-paid governor in the

country and the 487th-highest-paid New Mexico state employee. For all of the extraordinary work

and leadership the Governor performs for our state and the incalculable benefit she usually brings

to our fellow citizens, this gross underpayment is totally unacceptable, just as is the failure to equally

compensate one of our pre-eminent New Mexico public servants, Plaintiff Jan Goodwin.

        Yet, because Defendant Lujan Grisham knew that she would never herself be paid

equal to this white woman of the same age (Plaintiff Ms. Goodwin), the Governor (beset by this

trifecta of race, gender and age discriminatory animus) unfortunately and illegally refused,

in conspiracy with Defendant Romero (a younger Hispanic female) and others yet to be




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identified, to permit Ms. Goodwin to be paid equal to her male counterpart, Mr. Moise, for

the equal (and even more) work that Ms. Goodwin was performing for our state.

        (The undersigned counsel for Plaintiff contends that the New Mexico Fair Pay For Women

Act and the federal Equal Pay Act of 1963 both prohibit such a disparity and that Governor Lujan

Grisham herself could assert a claim against the State of New Mexico for equal pay, because, as she

is the uniquely pre-eminent “employee” in the state, there are no other state employees who could

possibly be deemed to be performing “equal work;” and, therefore, the Governor is entitled to

demand pay equal to that of her better-paid counterparts in other states. She should not have to seek

ways to expense food and clothing in order to reduce her financial stress while serving the people

of our state. See https://amp.kob.com/articles/4-investigates-review-of-expenses-reveals-governor-

spending-most-of-her-discretionary-fund-on-groceries-6016437.html.)

        Yet, however sympathetic one might be for the Governor’s personal situation, her deliberate

disregard for her oath of office and her malicious and illegal mistreatment of Ms. Goodwin can

never be excused - and can only be fully remedied by the jury composed of the citizens of our state

who will hear this case. Instead of misdirecting her animus toward Ms. Goodwin, the Governor

should have insured that Ms. Goodwin and Mr. Moise received equal paychecks, either by

accepting, and adjusting upward, NMERB’s recommended pay increase for Ms. Goodwin or by

unilaterally directing DFA to implement the full pay increase for Ms. Goodwin necessary to

eradicate the pay disparity (to include correcting the disparity retroactively to its inception, pursuant

to the clear direction of federal and state law). DFA’s and RMD’s failure to mandate such course-

correction was consistent with their silent conspiracy with the Governor and the other Defendants

to discriminate against Plaintiff.



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       All of the women of New Mexico deserve equal pay for their performance of work equal to

that performed by men, and the example for that fundamental maxim of workplace equality must

be firmly and unequivocally established in our state, if not by the Governor and her co-conspirators

and the other named Defendants, then here and now by the citizen-jurors of this state who will be

called upon to right this egregious wrong perpetrated against a loyal, hard-working and devoted civil

servant who has served our state employees since 1998 and the teachers of our state since 2008 -

Plaintiff herein, Jan Goodwin.

Plaintiff’s Excellent Job Performance:

       37.     Finally, the Defendants cannot contend that the pay disparity exists because of any

failure of Plaintiff to meet the expectations of her job as the Executive Director of NMERB,

because, in her most recent (2020) performance rating issued by the NMERB Board, it is stated:

       Financial Performance

       ... Certainly, she [Executive Director Jan Goodwin] continues to exceed performance
       expectations, despite the way she has been treated [by] the [ ] NM administration
       [Defendant Governor Lujan Grisham] to not allow us [the Board] to reward her [Ms.
       Goodwin] financially at a level she certainly deserves. She [Ms. Goodwin] performs
       all these financial tasks exceptionally well.

       Strategic Planning

       ... Jan displays an excellent command of the issues we have. Outstanding. She
       always seems to have a Strategic Plan on the books and one in her back pocket when
       changes need to be made....

       Overall Evaluation Comments

       ... * To find a consistent approach to the salary issue.

               Need to find a way to address the salary issue for the leadership [Ms.
               Goodwin] that is consistent and fair...




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       [We] place a very high value on her [Ms. Goodwin’s] daily efforts as Executive
       Director of the ERB, and [we] believe that every member of the Board is equally
       impressed by her daily performance in that capacity. Jan has a work ethic that is
       laser-focused to assure that ERB members [public school administration and
       teachers] get the absolute best return on their life-long investments.

       ... [T]heir [state fund managers’] combined ability to manage ERB funds, under Jan’s
       leadership is simply outstanding.... [We are] constantly amazed at our quarterly
       reports that show, in the vast majority of cases, how well our funds have done and
       how well our investments are positioned.

       Additionally, [we] see her [Jan] work tirelessly, yet diplomatically, with sometimes
       contentious stakeholders, and make concise, yet clear, presentations to numerous
       legislative committees on behalf of ERB. [We] have the sense that her status among
       the state legislators with whom she interacts is positive and that they respect her
       opinion and depth of knowledge on the topics she addresses.

       See Jan Goodwin’s 2020 Evaluation attached as Exhibit I. Emphasis supplied.

       38.     Because the Defendants have abjectly failed to correct this illegal pay disparity over

the span of Ms. Goodwin’s employment with the State of New Mexico as its Executive Director of

the State’s Educational Retirement Board, serving our state’s educational system’s employees, Ms.

Goodwin has been forced to resign and will be formally constructively terminated as of May 28,

2021, (last day on the payroll) with her last day in the office on March 20, 2021, so that she can

assume employment by the State of New Hampshire at a rate of pay comparable to that of Mr. Moise

and to which she has been legally entitled and for which she has struggled, without success, to

obtain over these many years.

       39.     Because Defendants have failed since 2010 to pay Plaintiff the level of compensation

that she was entitled to be paid, even when a lawsuit was filed this year by NMERB against DFA

highlighting the pay disparity and challenging the Governor’s right to ignore the law - and Governor

Lujan Grisham still did nothing to rectify the last ten years of the illegal discrimination which was

intentionally perpetrated against this loyal, and valuable, New Mexico public servant, Ms. Goodwin

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finally “got the message” that equity for her as an older, white woman would never be forthcoming

from our state government. She was therefore forced to leave her home state and seek equity in

another state (New Hampshire), which immediately recognized that Ms. Goodwin’s knowledge,

experience and history of proven performance would manifest an economic benefit for their

employees which would be far, far greater than the cost of her salary - which starting salary amount

is almost the same amount as what she should have been paid in New Mexico by these Defendants.

       40.      The Defendants’ deliberate refusal to keep Ms. Goodwin in New Mexico (by refusing

to pay her an amount equal to that paid to her male counterpart) in order to insure the continued

economic health of our state’s educational retirement system that Ms. Goodwin worked so hard to

achieve for our state’s educators and administrators, simply makes no economic sense - and,

therefore, could only be born from illegal discriminatory prejudice.

       41.      As a direct consequence of the illegal misconduct described above, Plaintiff has

suffered irreparable harm, to include, but not limited to, loss of income, loss of the use of all unpaid

income, loss of PERA retirement benefits, emotional distress and all other recoverable damages,

including pre- and post-judgment interest, statutory attorney’s fees and the costs of this litigation.




                                              COUNT I

                  For Violation of the New Mexico Fair Pay for Women Act,
                             NMSA 2016, Section 28-23-1, et seq.,
                        (Plaintiff v. Defendants State of New Mexico,
                    The Office of the Governor, DFA, RMD and NMERB)

       42.      Plaintiff incorporates and re-alleges all allegations of this Complaint as if fully set

forth herein.

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        43.     Section 3 of the New Mexico Fair Pay for Women Act (the “Act”) provides:

               A.      No employer shall discriminate, within any establishment in which
               such employees are employed, between employees on the basis of sex by
               paying wages to employees in the establishment at a rate less than the rate
               that the employer pays wages to employees of the opposite sex in the
               establishment for equal work on jobs the performance of which requires
               equal skill, effort and responsibility and that are performed under similar
               working conditions, except [no exceptions apply]...

               (Damages for a violation of this statute include actual and treble damages.
               See Section 6(A)(3))

        The Act’s definition of “employer” extends to the State of New Mexico and its

agencies. See Wolinsky v. New Mexico Corrections Department, 429 P. 3d 991, 2018

NMCA 71.

        44.    Mr. Moise was deliberately paid at least $100,000.00 per year more than Ms.

Goodwin for equal work, in violation of the statute, and such disparity was intentionally never

corrected by these Defendants, despite their having clear notice of the illegal disparity.

        45.     As a direct consequence of the illegal misconduct described above, Plaintiff has

suffered irreparable harm and damage, to include, but not limited to, loss of income, loss of the use

of all unpaid income, loss of PERA retirement benefits, emotional distress and all other recoverable

damages, including pre- and post-judgment interest, statutory attorney’s fees and the costs of this

litigation.

        46.    Accordingly, Defendants State of New Mexico, The Office of the Governor, DFA,

RMD and NMERB (whether acting independently and/or on behalf of and/or at the direction of the

State of New Mexico and/or its Governor) must insure the full compensation of Plaintiff, pursuant

to the terms of the Act, for all resultant financial consequences of the disparity, together with treble

those damages and Plaintiff’s costs and attorneys’ fees incurred in the pursuit of this action.


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       WHEREFORE, on Count I, Plaintiff requests that judgment be entered against Defendant

State of New Mexico, Defendant The Office of the Governor, Defendant DFA, Defendant RMD and

Defendant NMERB, jointly and/or severally, awarding her statutory damages, including treble

damages (treble Plaintiff’s actual and compensatory damages), together with pre-judgment interest,

post-judgment interest, costs, statutory attorneys’ fees and such other and further relief as is legally

available.

                                               COUNT II

                For Violation of the Equal Pay Act of 1963, 29 U.S.C., Section 206(d)
                           (Plaintiff v. Defendants State of New Mexico,
                      The Office of the Governor, DFA, RMD and NMERB)

       47.        Plaintiff incorporates and re-alleges all allegations of this Complaint as if fully set

forth herein.

       48.        Section 206(d) of the Equal Pay Act of 1963 provides:

       (d) Prohibition of sex discrimination

       (1) No employer having employees subject to any provisions of this section shall
       discriminate, within any establishment in which such employees are employed,
       between employees on the basis of sex by paying wages to employees in such
       establishment at a rate less than the rate at which he pays wages to employees of the
       opposite sex in such establishment for equal work on jobs the performance of which
       requires equal skill, effort, and responsibility, and which are performed under similar
       working conditions, except [no exceptions apply]....

       49.        As already stated, Mr. Moise was deliberately paid at least $100,000.00 per year more

than Ms. Goodwin for equal work, in violation of the statute, and such disparity was intentionally

never corrected by these Defendants, despite clear notice of same.

       50.        As a direct consequence of the illegal misconduct described above, Plaintiff has

suffered irreparable harm and damage, to include, but not limited to, loss of income, loss of the use



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of all unpaid income, loss of PERA retirement benefits, emotional distress and all other recoverable

damages, including pre- and post-judgment interest, statutory attorney’s fees and the costs of this

litigation.

        51.     Accordingly, Defendants State of New Mexico, DFA and/or NMERB must fully

insure the compensation of Plaintiff, pursuant to the terms of the Equal Pay Act, for all resultant

financial consequences of the disparity and for Plaintiff’s costs and attorneys’ fees.

        WHEREFORE, on Count II, Plaintiff requests that judgment be entered against Defendants

State of New Mexico, The Office of the Governor, DFA, RMD and NMERB, jointly and/or

severally, awarding her statutory damages, together with pre-judgment interest, post-judgment

interest, costs, statutory attorneys’ fees and such other and further relief as is legally available.

                                             COUNT III

          Gender and/or Race Discrimination and Illegal Retaliation in Violation of
           Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e, as amended;
                       and the Civil Rights Act of 1991, 42 U.S.C. § 1981a
         (Plaintiff v. All Defendants, including Yet-to-be-identified Co-Conspirators)

        52.     Plaintiff incorporates and re-alleges all allegations of this Complaint as if fully set

forth herein.

        53.     The above-described misconduct conduct perpetrated by the Defendants constitutes

age, gender and/or race discrimination, and/or retaliation for Plaintiff’s protected complaints, in

violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e-2(a), as amended (“Title

VII of the Civil Rights Act”) and the Civil Rights Act of 1991. Defendant Governor Lujan Grisham

and all other individual Defendants, at all times relevant herein, were and still are acting under color

of state law. All Defendants are therefore jointly and/or severally liable to Plaintiff for all of her




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federal civil rights statutory remedies, including for Plaintiff’s actual, consequential and punitive

damages and attorneys’ fees.

       54.      Defendants wrongfully and unlawfully discriminated against Plaintiff, a Caucasian

woman over 40 years of age, by failing to equally compensate her for the work performed by her

which was equal to that of her more-fairly-compensated male peer, Steven Moise.

       55.      Because Defendants’ ongoing and systemic discrimination and retaliation against

Plaintiff violated, and continued to violate, Plaintiff’s rights under Title VII of the Civil Rights Act

(and the Civil Rights Act of 1991), Defendants are therefore jointly and/or severally liable to

Plaintiff for all of her statutory remedies, including actual, consequential and punitive damages and

attorneys’ fees. (The Lilly Ledbetter Fair Pay Act of 2009, 111th Congress Public Law 2, permits

Plaintiff to recover from Defendants all income not paid to her since the commencement of the

disparity alleged in this Complaint.)

       56.      As a direct result of the aforesaid misconduct by the Defendants, Plaintiff has

suffered and will continue to suffer embarrassment, humiliation and loss of income and other

damages. Further, as a direct result of the aforesaid misconduct of the Defendants, Plaintiff has

been constructively discharged from her employment with the State of New Mexico, has been forced

to leave New Mexico, her state of residence, to obtain employment in another state offering equal

pay for equal work, has been prevented from obtaining the full enjoyment of life and has sustained

loss of earnings, loss of retirement benefits and will continue to incur these and other related

damages.

       57.      The conduct of the Defendants set forth above was intentional, willful, malicious,

reckless, wanton and/or grossly negligent and was undertaken with a total disregard for Plaintiff’s



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rights and feelings, knowing that their actions or inactions would cause Plaintiff to suffer economic

loss and severe and extreme emotional distress, thereby entitling Plaintiff to an additional award of

punitive damages to punish Defendants and to deter the State of New Mexico and its Governor(s)

and its agency heads (such as Defendant Romero) and any other individual co-conspirators from

considering similar reprehensible and illegal misconduct.

          58.   Notices of Right to Sue were issued by the United States Department of Justice on

April 06, 2021, and on May 14, 2021. See Exhibits J and K attached hereto and incorporated

herein.

          WHEREFORE, on Count III, Plaintiff requests that judgment be entered against

Defendants, jointly and/or severally, awarding her compensatory and punitive damages where

applicable, together with pre-judgment interest, post-judgment interest, costs, attorneys’ fees and

such other and further relief as is legally available.

                                             COUNT IV

                     Violation of The Lilly Ledbetter Fair Pay Act of 2009,
                                  111th Congress Public Law 2
                         (Plaintiff v. Defendants State of New Mexico,
                     The Office of the Governor, DFA, RMD and NMERB)

          59.   Plaintiff incorporates and re-alleges all allegations of this Complaint as if fully set

forth herein.

          60.   The Lilly Ledbetter Fair Pay Act of 2009, 111th Congress Public Law 2, permits

Plaintiff to recover from these Defendants all income (and associated loss of benefits and accrued

interest) not paid to her since the commencement of the disparity alleged in this Complaint.

          61.   This pay disparity began with the commencement of her employment with the State

of New Mexico in 2008 and has existed continuously up to the constructive termination of her


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employment in 2021; and therefore, Plaintiff is entitled to be compensated by one or more or all of

these Defendants, jointly and/or severally, for the full amount of the disparity accumulated since the

commencement of her employment as Executive Director of NMERB, to include compensation for

all concomitant loss of benefits and accrued interest for the loss of use of such funds, up to and

including the date of her termination from employment in 2021, together with statutory attorneys’

fees and all associated costs incurred by Plaintiff in rectifying this illegal pay disparity.

       62.      The conduct of these Defendants set forth above was intentional, willful, malicious,

reckless, wanton and/or grossly negligent and was undertaken with a total disregard for Plaintiff’s

rights and feelings, knowing that their actions or inactions would cause Plaintiff to suffer economic

loss and severe and extreme emotional distress, thereby entitling Plaintiff to an additional award of

punitive damages to punish these Defendants and to deter the State of New Mexico and its

Governor(s) and its agency heads (such as Defendant Romero) and any other individual co-

conspirators from considering similar reprehensible and illegal misconduct.

       WHEREFORE, on Count IV, Plaintiff requests that judgment be entered against these

Defendants, jointly and/or severally, awarding her compensatory and punitive damages where

applicable, together with pre-judgment interest, post-judgment interest, costs, attorneys’ fees and

such other and further relief as is legally available.

                                            COUNT V

                              Age Discrimination in Violation of
                      The Age Discrimination in Employment Act of 1967
                         (Plaintiff v. Defendants State of New Mexico,
                     The Office of the Governor, DFA, RMD and NMERB)

       63.      Plaintiff incorporates and re-alleges all allegations of this Complaint as if fully set

forth herein.


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       64.       The Age Discrimination in Employment Act of 1967, 29 U.S.C., Section 621, et seq.,

 prohibits discrimination in the workplace because of age (over 40).

       65.       Defendants, by their acts and/or omissions as described above, did so discriminate,

in whole or in part, against Plaintiff because she was an older woman (over the age of 40 years old).

       66.       Such discrimination resulted in the harm and damage described above, and these

Defendants are therefore liable to Plaintiff therefor and for all of her statutory remedies, to include,

but not limited to, an award of her attorneys’ fees and costs.

       67.       The conduct of these Defendants set forth above was intentional, willful, malicious,

reckless, wanton and/or grossly negligent and was undertaken with a total disregard for Plaintiff’s

rights and feelings, knowing that their actions or inactions would cause Plaintiff to suffer economic

loss and severe and extreme emotional distress, thereby entitling Plaintiff to an additional award of

punitive damages to punish these Defendants and to deter the State of New Mexico and DFA from

considering similar reprehensible and illegal misconduct.

       WHEREFORE, on Count V, Plaintiff requests that judgment be entered against these

Defendants, jointly and/or severally, awarding her compensatory and punitive damages where

applicable, together with pre-judgment interest, post-judgment interest, costs, attorneys’ fees and

such other and further relief as is legally available.

                                              COUNT VI

                Age, Gender and Race Discrimination and Retaliation in Violation
                  of the New Mexico Human Rights Act, NMSA §28-1-7, et seq.
                                 (Plaintiff v. All Defendants)

       68.       Plaintiff incorporates and re-alleges all allegations of this Complaint as if fully set

forth herein.



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          69.   The New Mexico Human Rights Act, NMSA §28-1-7, et seq., makes it an unlawful

and discriminatory practice for an employer and its supervisory employees to discriminate in the

terms and conditions or privileges of employment because of a person’s age, race and/or sex and/or

to retaliate against an employee who has made a protected complaint, either individually or through

others.

          70.   The Defendants had a duty by law not to discriminate against Plaintiff because of her

age (over 40) and/or sex (female) and/or race (Caucasian) nor to retaliated against Plaintiff for

protected complaints advanced on her behalf.

          71.   The Defendants violated this duty, as well as NMSA 1978, §28-1-7, et seq., by their

aforementioned actions and inactions which created and perpetuated a subliminally toxic and hostile

age-discriminating, race-discriminating and gender-discriminating work environment by denying

Plaintiff pay and benefits equal to those of her male counterpart, Steven Moise, and by failing to

correct such disparity, in part, because of retaliation against Plaintiff for having protected complaints

made on her behalf. At all times referenced herein, the individual Defendants were acting under

color of state law.

          72.   As a direct result of the aforesaid misconduct of the Defendants, Plaintiff has suffered

and will continue to suffer economic loss, embarrassment, emotional distress and suffering,

humiliation, loss of her employment in her home state and other consequential damages. Further,

as a direct result of the aforesaid misconduct of the Defendants, Plaintiff has sustained a significant

loss of earnings and associated damages and will continue to incur such loss into the future.

          73.   The misconduct of the Defendants set forth above was intentional, willful, malicious,

reckless, wanton and/or grossly negligent and was undertaken with a total disregard for Plaintiff’s



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rights and feelings, knowing that their actions or inactions would cause Plaintiff to suffer economic

loss and emotional distress, thereby entitling Plaintiff to an additional award of punitive damages

to punish Defendants and to deter the Governor of the State of New Mexico and the other individual

Defendants from considering the commission of similar reprehensible and illegal misconduct in the

future.

          WHEREFORE, on Count VI, Plaintiff requests that judgment be entered against

Defendants, jointly and/or severally, awarding Plaintiff compensatory and punitive damages where

applicable, together with pre-judgment interest, post-judgment interest, costs, attorneys’ fees and

such other and further relief as is legally available.

                                            COUNT VII

      Age, Gender and Race Discrimination, Retaliation and Deprivation of Federal and
             State Rights in Violation of The Civil Rights Act of 1871, Title 42 of
                    The United States Code, Sections 1981a and 1983
                          (Plaintiff v. All Individual Defendants)

          74.   Plaintiff incorporates in this Count all of the allegations made throughout this

Complaint as if fully set forth herein.

          75.   The individual Defendants (and/or other yet-to-be-identified individuals) engaged

in unlawful and intentional age, gender and/or race discrimination and/or illegal retaliation

prohibited under 42 U.S.C., Sections 1981a, 1983 and 2000e-2 or 2000e-3, with malice or reckless

indifference to the federally protected rights of Plaintiff. In addition, such discrimination violated

Plaintiff’s rights granted to her pursuant to the Due Process and Equal Protection Clauses of the

Fourteenth Amendment to the United States Constitution.

          76.   These individual Defendants (and/or other yet-to-be-identified enabler(s) or co-

conspirator(s)) perpetrated such misconduct while acting under color of state law and, in doing so,


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have deprived Plaintiff of her rights, privileges and/or immunities secured by the United States and

New Mexico Constitutions and federal and state laws, including, but not limited to, the federal and

state statutes cited herein and the due process and equal protection clauses of the United States and

New Mexico Constitutions.

        77.     Such violations of 42 U.S.C., Sections 1981a and 1983, have caused Plaintiff to suffer

irreparable damage and harm as is described herein, above and below, thus causing these Defendants

to be jointly and/or severally liable to Plaintiff for all such resulting harm and damage, entitling the

Plaintiff to recover from these Defendants, individually, jointly and/or severally, compensatory and

punitive damages.

        WHEREFORE, on Count VII, Plaintiff requests that judgment be entered against all

individual Defendants, jointly and/or severally, awarding Plaintiff compensatory and punitive

damages, together with pre-judgment interest, post-judgment interest, costs, attorneys’ fees and such

other and further relief as is legally available.

                                            COUNT VIII

              Violations of the Due Process and Equal Protection Clauses of the
                  Fourteenth Amendment to the United States Constitution
                        (Plaintiff v. Defendants State of New Mexico,
                    The Office of the Governor, DFA, RMD and NMERB
                          and Yet-to-be-identified Co-Conspirators)

        78.     Plaintiff incorporates and re-alleges in this Count all of the allegations made

throughout this Complaint as if fully set forth herein.

        79.     The Fourteenth Amendment to the United States Constitution prohibits states from

denying its citizens due process or equal protection of the laws.




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          80.   In the instant case, the State of New Mexico and/or The Office of the Governor

and/or DFA and/or RMD and/or NMERB and/or Yet-to-be-identified Co-conspirators have

deliberately and illegally deprived Plaintiff of due process (failure to permit her to be paid equal pay

as received by men for Plaintiff’s equal work, notwithstanding the NMERB’s attempt to equalize

her pay) and equal protection of the laws (failure to provide her with compensation equal to her male

counterpart, Steve Moise), which deprivations have caused Plaintiff to suffer the harm described

herein.

          81.   Accordingly, the State of New Mexico, DFA, RMD, NMERB and/or Yet-to-be-

identified Co-conspirators are liable to Plaintiff for all damages she has sustained for this violation

of her federal constitutional rights.

          WHEREFORE, on Count VIII, Plaintiff requests that judgment be entered against these

Defendants, jointly and/or severally, awarding Plaintiff compensatory and punitive damages where

applicable, together with pre-judgment interest, post-judgment interest, costs, attorneys’ fees and

such other and further relief as is legally available.

                                             COUNT IX

            Violations of the Due Process, Equal Protection and Sex Discrimination
                      Clauses of the New Mexico Constitution Art. II, § 18
                          (Plaintiff v. Defendants State of New Mexico,
                     The Office of the Governor, DFA, RMD and NMERB
                            and Yet-to-be-identified Co-Conspirators)

          82.   Plaintiff incorporates and re-alleges in this Count all of the allegations made

throughout this Complaint as if fully set forth herein.




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       83.     Article II, Section 18, of the New Mexico Constitution prohibits states from denying

its citizens due process or equal protection of the laws, to include the prohibition of sex, age and

other discrimination.

       84.     In the instant case, the State of New Mexico, The Office of the Governor, DFA, RMD

and NMERB and Yet-to-be-identified Co-Conspirators have deliberately deprived Plaintiff of due

process (failure to permit her to be paid equal pay as received by men for Plaintiff’s equal work,

notwithstanding the NMERB’s attempt to equalize her pay) and equal protection of the laws (failure

to provide her with compensation equal to her male counterpart, Steve Moise) guaranteed to Plaintiff

under the New Mexico Constitution, as well as discriminated against her in such effort based upon

her sex and age (older woman), and such misconduct has caused Plaintiff to suffer the harm and

damage described herein.

       85.     Accordingly, the State of New Mexico, The Office of the Governor, DFA, RMD,

NMERB and Yet-to-be-identified Co-Conspirators, while acting under color of state law, have

violated the New Mexico Constitution and are therefore jointly and/or severally liable to Plaintiff

for all damages she has sustained for this violation of her state constitutional rights.

       WHEREFORE, on Count IX, Plaintiff requests that judgment be entered against these

Defendants, jointly and/or severally, awarding Plaintiff compensatory and punitive damages where

applicable, together with pre-judgment interest, post-judgment interest, costs, attorneys’ fees and

such other and further relief as is legally available.

                                             COUNT X

                 Violations of the New Mexico Whistleblower Protection Act,
                             NMSA 1978, Section 10-16c-1, et seq.
                         (Plaintiff v. Defendants State of New Mexico,
                    The Office of the Governor, DFA, RMD and NMERB)

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       86.     Plaintiff incorporates and re-alleges in this Count all of the allegations made

throughout this Complaint as if fully set forth herein.

       87.     The New Mexico Whistleblower Protection Act, NMSA 1978, Section 10-16C-1, et

seq., at Section 10-16C-3 provides, in part:

       Section 10-16C-3. Public employee retaliation action prohibited.

       A public employer shall not take any retaliatory action against a public employee
       because the public employee:

               A. communicates to the public employer or a third party information
               about an action or a failure to act that the public employee believes in
               good faith constitutes an unlawful or improper act.

       88.     The Plaintiff communicated to the State of New Mexico, the Office of the Governor,

Defendant Romero, the DFA, RMD and to the NMERB, via one or more state employee(s),

including the individual Defendants acting under color of state law, the information set forth in this

Complaint about the discriminatory and other illegal acts and failures to act of the named Defendants

described herein and of other yet-to-be-identified complicit state employees, which acts and/or

failures to act the Plaintiff believed in good faith to be unlawful and/or improper, to include but not

limited to, Defendants’ failures to respond to the numerous reportings of the unlawful pay disparity

being perpetrated against Plaintiff because of the Defendants’ illegal failure to afford her equal pay

for equal work, including a chain-of command conspiracy to commit same.

       89.     These Defendants who are identified to be public employers, either individually or

in concert with one or more of the other Defendants and/or with other state employees or agencies

(Yet-to-be-identified Co-Conspirators), failed to act to protect the Plaintiff from further income loss

in response to the Plaintiff’s communications, either made individually through other State officials,

to include Mr. Moise or the members of the NMERB Board of Trustees, regarding the Defendants’

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respective illegal acts and failures to act described through this complaint, in direction violation of

the New Mexico Whistleblower Protection Act.

       90.     Such failures to act perpetrated by each and every complicit “public-employer”

Defendant have caused the Plaintiff to suffer additional emotional distress and other harm, economic

loss, denial or disruption of her employment advancement, constructive termination of her

employment, loss of back and front pay, loss of benefits and other actual and consequential damage,

and all Defendants are therefore jointly and/or severally liable to Plaintiff for same.

       91.     All of the individual Defendants, jointly and/or severally, while acting under color

of state law, perpetrated said illegal misconduct on behalf of their respective “employers”

intentionally, willfully, wantonly and/or with reckless disregard for the Plaintiff’s rights and

feelings, thereby rendering the individual Defendants, pursuant to 42 U.S.C., Sections 1981a and

1983, jointly and/or severally liable to the Plaintiff for an additional award of punitive damages.

       WHEREFORE on Count X, Plaintiff requests that judgment be entered against these

Defendants, jointly and/or severally, awarding Plaintiff compensatory and punitive damages where

applicable, together with pre-judgment interest, post-judgment interest, costs, attorneys’ fees and

such other and further relief as is legally available.

                                             COUNT XI

                                Breach of Employment Contact
                         (Plaintiff v. Defendants State of New Mexico,
                     The Office of the Governor, DFA, RMD and NMERB)

       92.     Plaintiff incorporates and re-alleges in this Count all of the allegations made

throughout this Complaint as if fully set forth herein.




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       93.     These Defendants, by and through each other and/or by and through other named and

complicit Defendants and their perpetration of the aforesaid misconduct against the Plaintiff as is

set forth above, breached the covenant of good faith and fair dealing implied in Plaintiff’s contract

of employment with the State of New Mexico (and/or with NMERB) which was authorized by

Defendants The Office of the Governor, DFA, RMD and/or NMERB, thus causing the Plaintiff to

suffer emotional distress and other harm, economic loss, constructive termination of her

employment, loss of back and front pay, loss of benefits and other actual and consequential damage,

and these Defendants are liable to the Plaintiff therefor.

       WHEREFORE on Count XI, Plaintiff requests that judgment be entered against these

Defendants, jointly and/or severally, awarding Plaintiff compensatory and punitive damages where

applicable, together with pre-judgment interest, post-judgment interest, costs, attorneys’ fees and

such other and further relief as is legally available.

                                            COUNT XII

                      Intentional Interference With Employment Contract
      (Plaintiff v. Defendants State of New Mexico, Lujan-Grisham, Romero, Tyndall,
            DFA, RMD and NMERB and Yet-to-be-identified Co-Conspirators)

       94.     Plaintiff incorporates and re-alleges in this Count all of the allegations made

throughout this Complaint as if fully set forth herein.

       95.     Each and/or all of these named Defendants owed Plaintiff a duty not to interfere with

Plaintiff’s contract of employment with the State of New Mexico and/or NMERB.

       96.     One or more or all of these Defendants breached said duty owed to Plaintiff by

engaging in the acts and/or omissions set forth in this Complaint individually and while acting under




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color of state law, thus rendering one or more or all of them liable to Plaintiff, jointly and/or

severally, for all consequent harm suffered by Plaintiff.

        97.     One or more or all of these Defendants perpetrated said misconduct intentionally,

willfully, wantonly and/or with reckless disregard for the Plaintiff’s rights and feelings, therefore

rendering these Defendant(s) jointly and/or severally liable to the Plaintiff for an additional award

of punitive damages.

        WHEREFORE on Count XII, the Plaintiff prays that judgment be entered against these

Defendants, jointly and/or severally, in an amount to be determined by the jury, for costs, back pay,

interest, punitive damages and statutory attorneys’ fees where applicable and for such other and

further relief as is legally available.

                                           COUNT XIII

                          Intentional Infliction of Emotional Distress
            (Plaintiff v. Defendants State of New Mexico, DFA, RMD, NMERB,
        Lujan-Grisham, Romero, Tyndall and Yet-to-be-identified Co-Conspirators )

        98.     Plaintiff incorporates and re-alleges in this Count all of the allegations made

throughout this Complaint as if fully set forth herein.

        99.     By and through the acts and/or omissions described above, one, more and/or all of

these Defendant(s), individually or in conspiracy with one or more of each other, intended to and

did, in fact, inflict upon Plaintiff severe and extreme emotional distress, for which harm all such

culpable Defendant(s) are jointly and/or severally liable to Plaintiff for all of her consequent harm.

        100.    One or more or all of these Defendant(s) perpetrated said infliction intentionally,

willfully, wantonly and/or with reckless disregard for the Plaintiff’s rights and feelings, therefore




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rendering the culpable Defendant(s) jointly and/or severally liable to the Plaintiff for an additional

award of punitive damages.

        WHEREFORE on Count XIII, the Plaintiff prays that judgment be entered against these

Defendants, jointly and/or severally, in an amount to be determined by the jury, for costs, back pay,

interest, punitive damages and statutory attorneys’ fees where applicable and for such other and

further relief as is legally available.

                                            COUNT XIV

         Negligent/Reckless/Intentional Breach(es) of Fiduciary and Other Duties /
                                    Promissory Estoppel
                          (Plaintiff v. All Individual Defendants)

        101.     Plaintiff incorporates and re-alleges in this Count all of the allegations made

throughout this Complaint as if fully set forth herein.

        102.     One or more or all of the individual Defendant(s) took an oath when assuming their

respective offices (Oath of Officer) which is required by the New Mexico Constitution: “Every

person elected or appointed to any office shall, before entering upon his [her] duties take and

subscribe to an oath or affirmation that he [she] will support the constitution of the United States and

the constitution and laws of this state, and that he will faithfully and impartially discharge the duties

of his office to the best of his [her] ability.” The Constitution of the State of New Mexico, Article

XX, Section 1.

        103.     Such oath was taken by the Governor of the State of New Mexico (Michelle Lujan

Grisham) and likely by all individual Defendants when assuming their respective offices, thus

creating a fiduciary (or other lawful) duty (to act in the best interest of the citizens of a state - the

“duty” to “support the constitution of the United States and the constitution and laws of [New


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Mexico” and to “faithfully and impartially discharge [such] duties”) owed by each of these

Defendants to all citizens of the State of New Mexico, to include Plaintiff herein, to, among other

obligations, support and follow the constitution of the United States and the constitution and laws

of the State of New Mexico, to include those specific obligations cited throughout this Complaint;

yet, as described herein above and below, these individual Defendants, while acting under color of

state law in their respective offices, negligently, recklessly and/or intentionally breached such

fiduciary duty (and any other duty) owed to Plaintiff and to the citizens of our state by committing

the violations cited throughout this Complaint, thus proximately causing harm and injury to Plaintiff

and to all New Mexicans, for which harm and injury they are liable to Plaintiff herein.

       104.    Even if a Defendant did not take said oath to assume his or her office, nevertheless

implied in their assumption of state office and state employment was his or her knowing acceptance

of and obligation to comply with and fulfill the duty prescribed by said oath, which duty he or she

owed to all citizens of Mew Mexico, including Plaintiff herein.

       105.    Such oath of office (and/or the act of assuming office) also constituted a promise

made by the individual Defendants to Plaintiff to uphold such duty owed to the citizens of New

Mexico, upon which Plaintiff duly relied while engaging in her service to our state, to her ultimate

detriment when such promise was breached by the Defendants as has been described hereinabove.

Defendants are thereby estopped from claiming otherwise and are therefore liable to Plaintiff for

all of the above-described harm she has suffered as a result of such breach(es) of duty and promise.

       106.    One or more or all of these Defendant(s) perpetrated said harm intentionally,

willfully, wantonly and/or with reckless disregard for the Plaintiff’s rights and feelings while acting




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under color of state law, therefore rendering all of the culpable Defendant(s) jointly and/or severally

liable to the Plaintiff for an additional award of punitive damages.

        WHEREFORE on Count XIV, the Plaintiff prays that judgment be entered against these

Defendants, jointly and/or severally, in an amount to be determined by the jury, for costs, back pay,

interest, punitive damages and statutory attorneys’ fees where applicable and for such other and

further relief as is legally available.

                                            COUNT XV

                                           Civil Conspiracy
                                     (Plaintiff v. All Defendants)

        107.    Plaintiff incorporates and re-alleges in this Count all of the allegations made

throughout this Complaint as if fully set forth herein.

        108.    One or more or all of these Defendant(s) conspired with one or more of the other of

these Defendant(s) to discriminate against Plaintiff in the terms and conditions of Plaintiff’s

employment and to otherwise inflict harm upon Plaintiff via the tortious misconduct described

hereinabove.

        109.    Such conspiracy has caused Plaintiff to suffer emotional distress and financial harm,

for which all of the culpable Defendant(s) are jointly and/or severally liable.

        110.    One or more or all of these complicit Defendant(s) perpetrated said conspiracy

intentionally, willfully, wantonly and/or with reckless disregard for the Plaintiff’s rights and

feelings, therefore rendering such Defendant(s) jointly and/or severally liable to the Plaintiff for an

additional award of punitive damages.

        WHEREFORE, on Count XV, the Plaintiff prays that judgment be entered against these

Defendants, jointly and/or severally, in an amount to be determined by the jury, for costs, back pay,

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interest, punitive damages where applicable and statutory attorneys’ fees and for such other and

further relief as is legally available.

                                          JURY DEMAND

        Plaintiff hereby demands that all issues be tried to a jury of six (6) persons.

                                               Respectfully submitted,

                                               THE BENNETT LAW GROUP, LLC



                                               By:
                                                     Merit Bennett, Esq.
                                                     460 St. Michael’s Drive, Suite 703
                                                     Santa Fe, New Mexico 87505
                                                     Ph: 505-983-9834 | Fax: 505-983-9836
                                                     Email: mb@thebennettlawgroup.com
                                                     Attorney for Plaintiff Jan H.C. Goodwin



CERTIFICATE OF SERVICE

I hereby certify that on the 13th day of July, 2021,
I filed the foregoing electronically through the
CM/ECF system, which caused the following parties
or counsel to be served by electronic means, as more
fully reflected on the Notice of Electronic Filing:

        Jaclyn M. McLean,
        Hinkle Shanor LLP
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        Ph: (505) 982-4554 | Fax: (505) 982-8623
        Email: jmclean@hinklelawfirm.com
        Attorney for Governor Lujan Grisham, The State of New Mexico,
        The Office of the Governor, DFA, Romero, RMD, Tyndall

and




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 /s/ Merit Bennett
Merit Bennett, Esq.
Attorney for Plaintiff




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                  JAN H.C. GOODWIN, CPA, MBA
           216 Vista Hermosa Street • Santa Fe, NM 87501-1057 • C: 505 412 0083 E: jhcg@cybermesa.com
Award-winning financial and administrative professional with more than two decades of proven experience in senior
roles. Responsible for a $13.8 billion pension fund providing benefits for 150,000 members and 218 employers. Career
highlights include increasing delinquent tax collections by 178%, lowering state's uninsured driver rate from 32% to
12%, and earning two major awards for career accomplishments, "Outstanding Member in Government," (New Mexico
Society of Certified Public Accountants) and "Women to Watch," (American Institute of Certified Public Accountants).

PROFESSIONAL EXPERIENCE
NEW MEXICO EDUCATIONAL RETIREMENT BOARD, Santa Fe, New MexicQ (2008 - Present)
Board administers retirement benefits for New Mexico's public educational employees. Provides defined benefit retirement
plan for 106,000 active and retired members, and defined contribution retirement plan for 4,000 participants, supported by
73 employees at Santa Fe and Albuquerque locations.
EXECUTIVE DIRECTOR
Accountable for management and administration of $13.8 billion defined benefit pension fund - for 60,000 active
and 46,000 retired members - and $552 million defined contribution retirement plan; manage four direct-reports
including Deputy Director, General Counsel, Chief Investment Officer and Internal Auditor, reporting to seven-member
Board.
Responsibilities include Investment Management, Information Technology, Legal, Member Services, Accounting, Human
Resources and Maintenance departments distributing $1.1 billion in pension benefits annually, receiving and
processing $698 million in annual employer and employee contributions from 218 public educational employers,
and updating 60,0 00 active member records.
•   Produced $7.7 million in annual savings and increased internal management of assets from 22% to 32% -
    reducing investment management fees, transitioning to internal asset-management strategy, negotiating superior
    contracts, and using innovative co-investment strategies with alternative assets.
•   Resolved challenges associated with long-term sustainability of defined benefit pension plan; developed
    solution supported by stakeholders, obtained legislative and Governor approval, and survived legal challenge,
    ultimately upheld by State's Supreme Court.
•   Increased productivity and decreased employee turnover by addressing longstanding issue of employees not
    receiving salary increases. Implemented non-cash incentive program comprised of "family first" policy, allowing
    for flexible work hours and extra time for staff to exercise three days weekly.
•   Provide support in implementation of new accounting standards released by Government Accounting
    Standards Board to participating employers; compose written materials and presentations to communicate
    changes over multiple platforms.

TAXATION & REVENUE DEPARTMENT, Santa Fe, New Mexico (2003 - 2008)
State agency responsible for collecting and distributing over $7 billion annually in taxes and fees to state and local
governments, with approximately 1,200 employees and 60 offices across state.
CABINET SECRETARY
Appointed by Governor; accountable for agency's $84 million operating, capital budgets, and 10 direct-reports.
During legislative session, acted as point person for all of Governor's and department's tax legislation; testified
before relevant legislative committees; functioned as administration's advocate for legislation before editorial
boards, and advocated for passage of bills.
Presented department's revenue projections for State's general fund to Finance Committees during legislative
sessions and interim sessions. First Cabinet Secretary in many years to go on-site at all 60 department offices.
•   Reduced average wait time at motor vehicle offices across state - by more than 50% - from 30 minutes to 14
    minutes, by launching strategic, multi-faceted campaign, encouraging public to complete services online via
    organization's website, installing self-service kiosks in every MVD office, and installing greeters to ensure customers
    had completed required paperwork to process desired transaction.
•   Oversaw implementation of software for 28 tax programs replacing former system. The new software is an
    integrated tax processing system supports the agency's multiple tax programs allowing accurate revenue collection
    and distribution.
•   Cut state's uninsured driver rate from one of highest in U.S. at 32% to less than national average at 12% while
    boosting vehicle insurance rate from 68% to 88%, by working with Motor Vehicle Division, state insurance
    companies, editorial boards of state's major newspapers, law enforcement, and outside advertising company.

                                                                                                                  EXHIBIT A
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•   Executed new initiative designed to improve delinquent tax collections, collecting total of $395 million or
    58% above $250 million baseline.
•   Improved formerly contentious relationship between State's Tax Department and State Society of Certified
    Public Accountants by establishing dedicated customer service line with audit and compliance division (tax
    practitioner's hotline) and by conducting regular outreach meetings.
•   Eliminated negative reporting condition existing for more than 15 years; department's financial statements
    had qualified audit opinion; worked with various department employees, outside auditors, and State's Comptroller
    to develop plan to fix underlying issues.

STATE BOARD OF FINANCE, Santa Fe, New Mexico (2000 - 2002)
Provides oversight for many of state's major financial decisions and responsible for severance tax bond and general
obligation bond issuance. Board comprised of Governor, Lieutenant Governor, State Treasurer, and four Governor
appointees.
DIRECTOR
Administered State's major severance tax bonds and general obligation bond programs; also directed work of
numerous external economists and professionals including attorneys, financial advisors, and economic consultants.
Provided operational and analytical support; coordinated efforts of Deputy Director and Chief Economist in
addition to six staff members.
Directed research for all matters to be brought before Board - including such topics as new programs for state
universities, major real estate purchases and sales by public entities, major construction contracts for state entities,
awarding emergency grant money, and issuing of debt by state agencies and institutions of h igher education - in order
to brief all Board members on specifics of each transaction requiring approval and equipping members to render
best decision possible. Briefed all board members on agenda items before each Board meeting.
• Uncovered unusual patterns of investment transactions - many of which violated State Treasurer's investment
    policy - compiled data, analyzed transactions and forwarded findings to FBI for formal investigation.
•   Substantially improved process for gathering information contained in State's financial disclosures by
    incorporating new checklist procedure to ensure all relevant data were collected and presented. Collaborated with
    economists and financial advisor to review information in order to identify potential inaccuracies and method to
    correct errors.
•   Provided oversight to State Treasurer's office responsible for investing $4 billion dollars including state
    general fund, bond proceeds and local government investment pool.



                                                   EARLY CAREER
Deputy Director, State Investment Council, Santa Fe, New Mexico (1998 - 2000)
Accountable for financial, administrative and information technology functions of agency managing and investing New
Mexico's permanent endowment funds, supervised preparation of investment accounting reports for State Investment
Council and external clients; established and maintained effective controls to safeguard managed funds.
Cash Management a d Investment Officer, City of Sa a Fe, Santa Fe, New Mexico (1996 - 1998)
Formulated and implemented investment policy for short-term and long-term funds; directed and monitored investment
management functions for all city funds; coordinated bond issuance. Staffed Finance Committee meetings for City Council.
Monitored and analyzed the City's revenues from taxes (gross receipts, lodgers and property) and fees (water and solid
waste).
Senior Consultant, Summit Equity, Inc., Santa Fe, New Mexico and London, England (1994 - 1996)
Managed books and maintained records for international management consulting firm.
Vice Presjdent, Investment Analyst/ Compliance Officer, Arbor Capital Partners, NY, NY ( 1993 - 1994)
Established U.S. Treasury trading desk operations; developed investment strategies for clients, and implemented
computer system to record firm's financial and trading transactions.
Senior Associate, Financial Advisory Services; Supervisor, Personal Financial Services, Coopers & Lybrand, NY,
NY (1985 -1993)
Provided tax planning and compliance services to high net w orth individuals in the financial services industry, and
supervised members of mergers and acquisitions buy side due diligence teams.
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JAN H.C. GOODWIN, CPA, MBA                                                                          Page3 of3


                                                EDUCATION
           Master of Health Adm n stration, Concentration in General Healthcare Admin str t on
                             University of New Mexico, Albuquerque, New Mexico
                    Master of Business Administration, Major in Finance and Accounting
                     Stern School of Business, New York University, New York, New York
                              Bachelor of Arts, M jor in Environmental Science
                                Wesleyan University, Middletown, Connecticut
                                             CERTIFICATIONS
            Certified Public Accountant and Member, American Institute of Certified Public Accountants
            Certified Employee Benefits Specialist, International Foundation of Employee Benefit Plans
 Candidate: Yale School of Management - EDHEC-Risk Institute Advanced Risk & Investment Management Program
                   Information Technology Infrastmcture Library (ITIL) Foundation Certification
                                       PROFESSIONAL ACTIVITIES
 Faculty member New Mexico State University EDGE program. Developed and teach pension course (2018 - present)
   National Council on Teacher Retirement, Secretary Treasurer, Member of Executive Committee (2016 - present)
             Chairperson and Executive Committee Member, Multistate Tax Commission (2005 - 2008)
              Second Vice-Chair and Board Member, Federation of Tax Administrators (200 3 - 2008)
            Adjunct Lecturer, New York University Real Estate Institute Master's Program (1990 - 1992)
                                     PROFESSIONAL RECOGNITION
    "Outstanding Member in Government" Award, New Mexico Society of Certified Public Accountants (2007)
 "Women to Watch" Award, Experienced Leader Category, American Institute of Certified Public Accountants (2007)
                                      COMMUNITY INVOLVEMENT
        Member University of New Mexico School of Public Administration Advisory Board (2020 - present)
                   Board Member, Los Alamos National Laboratory Foundation (2016 - 2019)
       Board Member, Chair of Audit Committee, Chair of Investment Committee, SVHSupport (2011 - 2014)
  Board Member, Chair of Investment Subcommittee, CHRISTOS St. Vincent Regional Medical Center (2011 - 2014)
                                       State Treasurer Candidate, (2002)
            President, Board of Directors, League of Women Voters of Santa Fe County (2000 - 2001)
                    Treasurer, Board of Directors, Friends of Farmers Markets (1997 - 2001)
                   Treasurer, Board of Directors, Santa Fe Concert Association (1996 - 2000)




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       Comparison of the Service and Performance of the NM State Investment Council
              Under Steven Moise Measured Against the Performance of the
                  NM Educational Retirement Board Under Jan Goodwin


New Mexico State Investment Council

   a) Mission and structure

New Mexico’s State Investment Council (SIC) was created in 1958. The SIC’s mission is to “protect
and grow the state’s permanent endowment funds”. Accordingly, the SIC manages the state’s
two permanent endowment funds: the Land Grant Permanent Fund (LGPF) and the Severance
Tax Permanent Fund (STPF) and four other permanent state funds: Tobacco Settlement; Tax
Stabilization Reserve; Water Trust; and Rural Libraries Endowment. The SIC also manages the
assets for the Early Childhood Education fund and manages $1.5 billion for 23 other New Mexico
government entities, for example the New Mexico Retiree Health Care Authority. The SIC is a
simple organization that determines the asset allocation for the permanent funds and then hires
investment managers to make those investments.

The SIC does not select the asset allocation for the governmental entities for which it manages
investments, nor does it manage the assets for each entity separately. Each entity’s governing
board determines the asset allocation and communicates that to the SIC. The entity’s moneys to
be invested are then used to purchase what are essentially shares in various mutual funds
managed by the SIC’s external investment managers, thereby combining the management of
investments into commingled accounts.

In order to accomplish its mission, the SIC uses external investment managers who invest in a
wide variety of assets. As of June 30, 2020, the SIC was responsible for $27.0 billion in assets.
Prior to Steven Moise’s tenure with the SIC, which began in April 2010, the SIC used a
combination of internal investment managers (SIC employees) and external managers. This
model had been in place for a very long time and was very successful. In addition to creating
good, well-paying jobs in New Mexico, the model also saved the SIC millions of dollars each year
in investment management fees. When Moise started at the SIC, he eliminated all internal
management of investments, which increased the costs of management.

   b) Operations

The LGPF has 21 beneficiaries. These beneficiaries include New Mexico public schools,
universities, hospitals and correctional institutions. Every month the SIC makes a distribution to
the General Fund for these beneficiaries. The distribution calculations are simple and formulaic.
For the year ended June 30, 2020 the distributions totaled $1.01 billion. This reduces the need of
the state to fund the operating costs of these beneficiaries. The SIC receives monies each month
from these sources: the General Fund for the Tax Stabilization Reserve Fund; the State Land
Office and the federal government for the LGPF; and oil and gas emergency school tax from the




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Department of Finance Administration and the Taxation and Revenue Department for the Tax
Stabilization Reserve Fund. The SIC also receives management fees from the 23 government
entities for which it manages their investments.

   c) Statutes and Rules

Although the State Investment Officer is responsible for a large portfolio of investments, the
actual administration of the SIC is relatively simple. This can be seen by looking at its governing
statutes. (Exhibit A- Article 8, page 60, NMSA 1978). The SIC has 25 statutory sections, of which
seven have been repealed and the statutes are eleven pages long. The SIC has one administrative
rule (six pages) dating from 1990 and it does not appear to have been updated since its initial
publication. (Exhibit B- New Mexico State Investment Council Statement of Investment Policy).

   d) Reports and performance

The SIC does not produce an annual report to highlight its financial and investment performance.
In 2018, it produced a report to highlight the SIC’s sixty years: https://www.sic.state.nm.us/60-
years-anniversary-report-2018.aspx The SIC does include quarterly investment performance
reports and its annual financial audit reports on its website.

   e) Executive Leadership

When Moise was hired to be the State Investment Officer by the SIC in April 2010, the statute
(Section 6-8-4B) required that the person hired as the chief administrative officer for the SIC have
at least five years of “investment and executive experience.” Moise did not have any investment
experience at the time of his hire. Since then, the statute was changed in 2015 to increase the
requirement to “ten years of investment and executive experience”. The investment experience
at the SIC is provided by the Deputy State Investment Officer, not the prescribed State
Investment Officer, whose responsibilities are administrative. Moise oversees a staff of
approximately 24 employees. The employees work in areas such as investments, legal,
accounting, communications and information technology.

New Mexico Educational Retirement Board

   a) Mission and structure

In contrast to SIC, the ERB’s mission and structure is much more complex. The ERB’s mission is
“providing secure retirement benefits for New Mexico’s educational employees- past, present
and future”. ERB provides a defined benefit pension to its members. When ERB members retire,
they know what their pension will be. It is determined by a formula: Years of service X Final
Average Salary X Multiplier. This provides a great deal of financial security in retirement for the
members. Members who began their ERB membership before 2013 are also eligible for a cost-
of-living adjustment (COLA) at the later age 65 or one year after retirement. Members who began




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their ERB membership after 2013 are also eligible for a cost-of-living adjustment (COLA) at the
later age 67 or one year after retirement.

As of June 30, 2020, ERB has over 163,000 members. Of these, 61,091 were working at 216
different employers across New Mexico, 51,397 were receiving retirement benefits each month
totaling $1.1 billion in the year ended June 30, 2020, and 50,914 were inactive (no longer
working at an ERB employer and have left their contributions on deposit with ERB. ERB monitors
the inactive members to determine when they are eligible to receive pension benefits or allow
them to refund their contributions. Each month ERB receives employer and member
contributions from 216 public schools, colleges, universities and state agencies totaling $65
million. The records for each of the 61,091 active members are updated monthly to reflect the
contributions they have paid and to accrue the service credit they have earned.

ERB’s various divisions include: investments, legal, member services, accounting, information
technology, communications, and human resources. The division that is most comparable to the
SIC is ERB’s investments division. ERB’s investment staff is responsible for pension plan’s $14
billion portfolio. But in contrast to SIC, ERB manages a sizable amount of its portfolio internally.
ERB manages approximately 30% of the portfolio with its own staff, saving the retirement fund
over $3.6 million each year. In addition, the investment staff engages in other cost-effective
management techniques such as co-investing, saving the retirement system over $26 million
each year.

Because the ERB’s mission and day-to-day business are much more complex than SIC’s, the
remaining divisions play just as vital a role in agency operations and are explained more in depth
below.

   b) Operations

ERB administers retirement benefits for its members. Each year approximately 2,000 members
retire. This is a detailed process including preparation of benefit estimates, audit of service
history, placement of members on the retiree payroll and verification of final earnings to ensure
that the retirement benefit was calculated correctly. If the retirement benefit needs to be
adjusted, this must be communicated to the member. All of the retirement benefits must be
correctly reported to the federal and state governments. The administration and processing of
retiree payroll is a demanding and exacting exercise of coordination amongst ERB’s various
divisions.

ERB also administers disability benefits to members who qualify, administers a separate defined
contribution plan to certain higher educational employees who qualify (the Alternative
Retirement Plan), and administers the Qualified Excess Benefit Arrangement, a payment of
additional retirement monies to certain highly paid retirees in compliance with the IRS code. This
involves a great deal of coordination among the actuaries and the various higher education
institutions who have eligible employees. In addition, ERB must provide tax information (1099Rs)
to all of its 51,000+ retirees every year.




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Because of the widespread shortage of teachers in New Mexico, ERB also administers a Return
to Work program. This program which began in 2004, allows approximately 1,500 retirees each
year to earn a salary at an ERB employer, while keeping their pension benefit. These retirees and
their employers pay contributions on the retirees’ salary to ERB.

ERB’s various divisions are vital in providing the important retirement benefit to educational
employees. Each must address its own unique set of issues:

         Investments: responsible for the day-to-day investment of the portfolio. ERB has invested
extensively in alternative assets to diversify the portfolio and reduce its risk, adding ten additional
asset classes to the investments. The ERB investment portfolio has a very good Sharpe ratio (the
measure of an asset compared to its risk) when compared to its peers, both in New Mexico and
globally, and is ranked in the top 5th percentile of public defined benefit funds greater than $1
billion over the most recent ten-year period. ERB is the only large New Mexico state agency that
manages part of its portfolio with internal staff, saving the ERB a significant amount of external
management fees as well as providing important employment opportunities for investment
professionals in the State of New Mexico.

        Legal: responsible for addressing issues such as taxation, proper documentation of
investment transactions, preparation of contracts, division of pension benefits governed by
Qualified Domestic Relations Orders, and personnel issues.

       Member Services: helps members understand their benefits, prepares cost estimates for
purchases of allowed service credit, prepares benefit estimates for members contemplating
retirement, processes refunds of contributions to members, processes retirement applications,
process changes in address or bank information for members, processes and distributes monthly
retirement benefits, processes Return to Work applications for retirees, and operates the call
center to communicate to members any information about their benefits.

      Accounting: collects and reconciles contributions from 216 employers each month and
updates the records for the 61,000 active members each month, processes all invoices and
vouchers for the organization, coordinates collection of information for annual financial
statement audit, electronically images paper records for all 163,000 members, communicates
with employers (schools and universities) in order to receive required information on ERB
members and contributions, and performs the Governmental Accounting Standards Board
Statement 68 required audit of employer reporting of the employers’ proportional share of ERB’s
unfunded actuarially accrued liability.

       Information Technology: recently converted to all virtual servers in the cloud (the only
state agency to do so), regularly conducts cybersecurity training for all employees, maintains all
software and hardware used by employees, and maintains integrity of system through regular
penetration testing.




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      Communications: prepares and disseminates information regarding proposed legislation;
conducts pre-retirement seminars for members nearing retirement; and drafts and implements
communications plan.

        Human Resources: responsible for the recruitment of new employees, onboarding of new
employees, processing of payroll for all employees, assists supervisors and managers with
disciplinary issues; ensures all required personnel evaluations and paperwork are completed
timely.

   c) Statutes and Rules

The complexity of the operations of ERB can also be seen in its statutes and rules. ERB has 71
sections in its governing statute, of which five have been repealed. Its statutes span 45 pages.
ERB has 12 administrative rules covering topics from eligibility for membership to how members
can work in retirement. ERB’s rules span approximately 41 pages.

   d) Reports and Performance

Beginning with Jan Goodwin’s tenure at ERB, each year the accounting staff prepares a
Comprehensive Annual Financial Report (CAFR). This includes sections on operating issues and
investment performance, ERB’s audited financial statements, ERB’s actuarial report and general
statistics. The report has been submitted each year to the Government Financial Officers
Association (GFOA)and has earned its endorsement. The ERB also prepares a summary version
of the CAFR, the Popular Annual Financial Report (also submitted for certification to the GFOA),
which is distributed to all retires with their Form 1099-R, so they monitor the performance of the
ERB retirement fund and be apprised of any significant changes in the Plan.

   e) Executive Leadership

Jan Goodwin’s responsibilities include administration and operation of the organization, and
strategic planning for improved sustainability. The ERB pension plan, like many other educational
retirement plans is underfunded. This is the result of chronic underfunding by the legislature.
Goodwin has spearheaded a number of legislative efforts to improve the plan’s sustainability.
The efforts in 2013 and 2019 were done in conjunction with the ERB Stakeholders group, founded
by Goodwin. The Stakeholders Group is made up of the five unions that represent ERB members,
school systems, community colleges, universities and retirees. Goodwin understood that the best
way to make legislative changes happen is to work with those affected by the potential changes
to the plan’s design and achieve consensus of the changes. After getting the Stakeholder Group
to agree to potential changes, Goodwin toured the state in 2012 and 2018, meeting with
members to explain why the changes were necessary and gain their support during the upcoming
legislative sessions. Both legislative efforts were successful. This resulted in substantive changes
to member benefits and contribution in 2013 and 2019, improving the plan’s sustainability. This
legislative session, Goodwin is working with Senate President Pro Tem Mimi Stewart on SB 42,
which increases the employer contribution rate and extends the sunset for the Return to Work




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program from December 31, 2021 to December 31, 2023. This legislation, if enacted, will have a
substantial positive impact on ERB’s sustainability.

Other duties and accomplishments of Jan Goodwin during her tenure as executive director are
as follows:

   •   In 2020, Goodwin commissioned a report by the University of New Mexico’s Bureau of
       Business & Economic Research (BBER) to document and quantify the disparity in the
       salary and retirement benefits of educational employees (predominantly female) with
       those of state employees (until recently predominantly male) over time. For many years
       New Mexico’s educational employees knew that their pension benefits were less than
       those of state employees, but the difference had never been rigorously quantified. The
       BBER report clearly showed that since the 1950s and continuing through today that ERB
       members receive hundreds of thousands in dollars less than their counterparts in New
       Mexico’s state government. In fact, the disparity increased with the educational level of
       the ERB members. One of the reasons Goodwin had this study prepared is to counter any
       arguments that may come up that ERB members’ benefits should be reduced, rather than
       increase the employer cost (largely paid by the state) in order to improve the plan’s
       sustainability.

   •   ERB members are also eligible for disability benefits, which ERB administers. Each year
       there are approximately 20 new or recertification of eligibility for benefits applications.
       When Goodwin arrived at ERB a panel of local doctors reviewed all of the disability
       applications. In order to improve the security of confidential member health information
       and reduce the processing time of disability applications, Goodwin implemented the use
       of a third-party administrator to review the applications and make determinations. This
       new process has also significantly decreased the number of members who appeal
       decisions on the awarding of benefits, reducing appeals that go to the Board.

   •   During her tenure at ERB, Goodwin has implemented numerous policies to improve
       sustainability and transparency. In 2013, Goodwin prepared a funding policy for the
       Board’s consideration. The funding policy addressed issues such as actuarial methods to
       be used and the frequency of asset allocation studies. In addition, in 2017 Goodwin
       prepared a best practices transparency policy for the Board’s consideration. The policy
       requires the disclosure of investment management fees by asset class, brokerage
       commissions, details of many other expenses paid by ERB. After ERB adopted this policy,
       PERA and SIC increased their disclosure of investment management fees.

   •   ERB is also responsible for administering the Alternative Retirement Plan (ARP), a defined
       contribution plan that certain employees of higher education may participate in. There
       are over 4,500 participants in the ARP; their assets total over $750 million. Goodwin
       supports the Board committee which oversees the third-party administrators for the
       funds and reviews the allowed investments for the ARP participants.




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•   Goodwin also works closely with the ERB’s actuaries to monitor the actuarial metrics of
    the pension plan and determine if any changes in benefits or assumptions need to be
    made.

•   Goodwin regularly testifies before legislative committees and serves as an expert witness
    on legislation that affects ERB. ERB’s legislative oversight committee is the Investments
    and Pensions Oversight Committee, which meets during the interim. Over the past few
    years, Goodwin has presented on topics such as Actuarial Updates, Return to Work,
    Legislative proposals, legal analysis and constitutionality of altering cost-of-living
    adjustments, and sustainability, solvency and fund liquidity plans for market downturn.

•   Goodwin, because of her position as ERB’s Executive Director has also served as an ex
    officio member on the New Mexico Retiree Health Care Authority. During her thirteen
    years on the Authority, she has been Chair of the Wellness Committee since its inception
    and has served as the Chair of the Audit Committee. Goodwin has developed the course
    materials and taught the Pensions and Other Post-Employment Benefits class for the New
    Mexico State University’s EDGE (Education Designed to Generate excellence in the Public
    Sector) program since 2018. In addition, Goodwin was invited to join the Executive
    Committee of the National Council on Teacher Retirement (NCTR) in 2016. NCTR is a
    member-supported association dedicated to safeguarding the integrity of public
    retirement systems in the United States. In 2019, Goodwin was elected as the NCTR
    Treasurer. She now serves as the organization’s President Elect.

•   Goodwin has also fought tirelessly to improve the compensation for her staff. In 2016,
    the ERB Board approved a series of salary increases for its professional investment staff.
    Prior to the Board action, the salaries of the investment staff were in the lowest quartile
    when compared to those of other similarly sized public pension plans. In 2018, she was
    able to work out an agreement with Governor Susana Martinez’s staff to allow the salary
    increases to be implemented over a period of three years. The second of the third round
    of raises were implemented in 2019.

•   Goodwin is dedicated to the free flow of information between members and the
    organization. She implemented a new section on the website in 2020 to “Ask Jan” that
    provides answers to questions on current issues that members have posed.

•   For many years, New Mexico’s State Personnel Office (SPO) has limited reimbursement
    of education expenses for all state employees to coursework that is directly related to the
    employee’s current position. When Goodwin met with the incoming SPO Director Pamela
    Coleman in 2019, Goodwin asked if employees could be reimbursed for coursework that
    would benefit the agency, greatly expanding the ability of state employees to be
    reimbursed for their education and expanding their horizons. SPO made that change later
    in 2019.




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   •   ERB’s Board members have a statutory requirement for continuing education on
       investments or fiduciary topics. Goodwin regularly works with the Board members to
       identify appropriate educational opportunities. She has also organized training sessions
       for the Board on actuarial matters and has brought in national experts to provide
       education for the Board.

   •   Goodwin initiated the use of an external audit firm (REDW) to conduct internal audits of
       its operations and investments. This is a separate process from the audit of financial
       statements by an independent auditor. ERB is responsible for a great deal of confidential
       information and wants to ensure that all of its information and assets are appropriately
       safeguarded. In addition, it is important to periodically review all internal processes and
       procedures to ensure they are being done consistent with their governing statutes and
       industry best practices.

   •   Goodwin and her staff members regularly review best practices to continuously improve
       the system’s governance. Best practices do evolve- it’s not “set and forget”. For example,
       the best practice theory on who should make investment decisions has evolved. ERB like
       most other pension plans had a sub-committee of the Board make investment manager
       hire and fire decisions, as well as portfolio allocation decisions. Portfolio allocation is
       responsible for over 95% of investment return. In 2020, consistent with the evolution of
       thinking on who is best equipped to make investment decisions, the ERB voted to allow
       its staff to make investment manager decisions and report them to the Board. Most
       governance experts believe that boards should be responsible for setting policy and then
       oversee staff to ensure that the policies are being implemented correctly.

   •   In the last few months, ERB has begun a business process improvement (BPI) project in
       conjunction with getting ready to upgrade its pension administration software (PAS).
       Upgrading the PAS will allow more functionality for ERB’s members, such as being able to
       print out their Form 1099-R, rather than waiting for it in the mail. The BPI project will
       identify processes that do not add value and will allow ERB to operate more efficiently for
       its members.

    The ERB not only has all of the investment duties of the SIC, but has the additional
responsibilities for member services, collection of retirement contributions, payment of
retirement and disability benefits, as well as working with the legislature and ERB members to
keep the ERB retirement plan sustainable.




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    Senwtor John Arthur Smith                                        State ofNew Mexico                               Representative Patricia A. Lundstrom
    Cha.l rman                                                                                                                                       Chair
                                                                   LEGISLATIVE FINANCE
Senator William F. Burt                                                COMMITTEE                                             Representative Paul C. Bandy
Senator Pete Campos                                                                                                      Representative Randal s. Crowder
Senator Carlos R. Cisneros                                                                                                Representative George Dodge, Jr.
                                                               325 Don Gaspar, Suite 101 • Santa Fe, NM 87501
Senator Carroll B. Leaven                                        Phone (SOS) 9864 550 • Fax: (SOS) 9864545               Representative Doreen Y. Gallegos
Senator Howle C. Moralet                                                                                                    Representative Jimmie C. Han
Senator Georee K. Munoz                                                           David Abbey                           Representative Larry A. Larranaga
Senator Steven P. NevIlle                                                                                                   Representative Nick L Saluar
                                                                                   Director
                                                                                                                             Representative Jim R. Trujlllo




                                                                                                                           August 24, 2018

                            LFC INVESTMENT REPORT FOR THE QUARTER ENDING JUNE 30, 2018

             This report details the comparative investment performance of the three investment agencies: the
             Educational Retirement Board (ERB), the Public Employees Retirement Association (PERA), and the State
             Investment Council (SIC) which manages the land grant pennanent fund (LGPF) and the severance tax
             permanent fund (STPF). 1

             INVESTMENT PERFORMANCE HIGHLIGHTS

             •     Jn FYI8, the aggregate value of New Mexico's combined investment holdings for the pension and
                   permanent funds gr~w by nearly $2.4 billion, or 4.8 percent, to end the fiscal year at $50.8 billion.
             •     Over the last five years, the state's combined investment holdings grew $11.5 billion, of29.4 percent.
            •      One-year returns ranged from 6.9 percent to 8.4 percent. Over the last 10 years, investment returns
                   ranged from 5.5 percent to 6.8 percent.
            •      ERB and SIC's funds outperformed their long-term targets for the one-, three-, and five-year periods.
                   PERA's fund outperfonned its long-term target for the five-year period. 2
            •      When compared with peer funds greater than $1 billion on a net-of-fee basis, the ERB fund performed
                   in the highest quartile for the qua.rter, three-year, and ten-year periods, and it performed above the
                   median for the one-year and five-year periods. The permanent funds performed above the median for
                   the quarter, one-, three-, and five-year periods, and the LGPF performed at the median for the 10-year
                   period. The PERA fund performed in lowest quartile for all periods repo11ed.

                                                             Returns as of June 30, 2018 (Net ofFees) 3
                                               PERA                              ERB                      LGPF                STPF
                                                 Policy                            Policy                    Policy              Polley
                 Returns (%)               Fund Index                       Fund Index                 Fund Index         Fund Index
                 Quarter                    0.80 0.98                        1.50 0.90                  0.85 1.00          1.67 1.03
                 I-Year                     6.93 5.27                        8.30 8.50                  8.36 7.94          8.43 8.10
                 3-Year                     6.08 6.20                        7.60 7.30                  7.04 6.62          7.04 6.72
                 5-Year                     7.31 7.34                        8.10 7.60                  7.93 8.00          7.90 8.06
                 10-Year                    5.49 5.86                        6.80 6.00                  6.08 6.21          5.50 6.16
                 Note: bold indicates returns that eitceed the fund's long-term target


1
    Agency performance and market environment information are derived from the investment perfonnance reports submitted by
PERA, ERB, and SIC for the quarter ending June 30, 2018.
2
 The funds ' long-term return targets are 7 .25 percent (PERA), 7.25 percent (ERB), 7 percent (LGPF), and 6.75 percent (STPF).
3A fund's policy index is a custom benchmark that show the returns that would have been generated if a passive investor
consistently fo llowed the agency's asset allocation targets according to their investment policy.




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       Investment Agency Performance Dashboard
       Quarter Ending June 30, 2018
       This report detail the comparative investment performance of the three investment agencies: the Educational Retirement Board
       (ERB), the Public Employees Retirement Association (PERA), and the State Investment Council (SIC) which manages the land grant
       permanent fund (LGPF) and the severance tax permanent fund (Si-PF).



                                                     Fund Asset Values Over Time
       $20
       $18                                                                                                      FY18 combined
                                                          $14.9 $ 15. 4
                                                                                                               growth (all funds):
       $16
       $14                                                                                                        $2.35 billion
v,   $12                                                                                                             +4.8%
i    $10
       $8




                                                                                                                iii
       $6
       $4
       $2
       $0
                         ERB                              PERA                            LGPF                        STPF

                                                     ■ 6/30/2013      ■ 6/30/2017      • 6/30/2018



                         lnvestorForce Final+ Universe Rankings, period ending June 30, 2018
                                         (public funds> $1 billion net-of-fees)
             0


iii
Cl)      25
.0
.!!?
 Q)
'o       50
 Cl)

 ...
-0



1 75
        100
                      Quarter                    1 Year                   3 Year                     5 Year            10 Year

                                                     • PERA • ERB • LGPF • ST PF                I
     Risk Profiles, Five Years Ending 06/30/18, Net of Fees                                                    Aggregate Value
                         Fund                           ERB           PERA          LGPF            STPF        of New Mexico
                 Standard Deviation*                        4.6            5.8            4.0           4 .1      Investment
                   Sharpe Ratio**                           1.7            1.2            1.8           1.8        Holdings
                      Beta***                               0.4            0.5            0.5           0.5
     •measures variability from the mean return; higher is more volatile                                          $50.8 billion
     ••higher numbers indicate higher return-to-risk level; a good ratio is 1 or better
     ...represents the volatility of the portfolio versus the S&P 500. Beta = 1: portfolio moves with the
     market. Beta < 1: portfolio is less volatile than market. Beta > 1: portfolio ls more volatile than the                 Source: Agency
     market.                                                                                                             Investment Reports




                                                                                                                                     EXHIBIT C
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      January 2020 for the 2021 Fiscal Year
                                                                    EXHIBIT D
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 Investments


                                                               D
            ERB Total Portfolio                                       espite a decline in global equities in the last quarter of
              Returns as of                                           2018, fears ofa global slowdown, and trade uncertainties,
              June 30, 2019
       End Balance $13.329 Billion                                    the state's investment funds posted stable returns in
 10.0                                                  96
                                  9.1                          FY19, ranging from 5.37 percent to 7.29 percent. The aggregate
     9.0
     8.0
     7.0
                         7.3
                                  '
                                  f•       6.7
                                            ...
                                                               value of New Mexico's investment holdings - managed by
                                                               the Educational Retirement Board (ERB), Public Employees
     6.0                                                       Retirement Association (PERA), and State Investment Council
     5.0
     4 .0
                            •     ...
                                   -(
                                            15-


                                            ii
                                                               (SIC)- grew by $2.026 billion in FY19.
                  ...
                3.2         ~
     3.0
                  1·              '
                                  ~         ►
                                                               At the start ofFY20, the United States entered into the longest recorded economic
     2.0
     1.0          ~         '     ·.·,.                        expansion in U.S. history. As the expansion continues, investors face challenges
                                                               of"late cycle" investing, in which returns may be good due to high valuations but
     0.0                                                 -,
                                                               risks are also high. Managing investments through a late cycle involves protecting
                                                               funds from losses in risky assets while also attempting to take advantage of high
                                                               market returns.
 -           Return% --Target 7.25%
                                                  ur   : ERB
                                                               Performance Overview
                                                               In FY19, the aggregate value of the state's investment holdings - comprising the
                                                               two pension funds managed by ERB and PERA and the land grant and severance
                                                               tax permanent funds managed by SIC - grew by 4 percent to end the fiscal year at
                                                               $52.8 billion. Over the last five years, the state's combined investment holdings
                                                               grew $8.1 billion, or 18.2 percent.
                                                                                     Asset Values for Year Ending June 30, 2019
                                                                                                       (In millions of dollars)
                                                                  Annual                        ERB            PERA            LGPF           STPF           Total
                                                                  Asset Value                $13,329.1       $15,648.4       $18,575.1       $5,273.6      $52,826.2
        PERA Total Portfolio                                      Value Change                   $442.9          $287.7       $1,121.3         $174.3        $2,026.2
           Returns as of                                          Percent Change
                                                                                                   3.4%            1.9%           6.4%           3.4%            4.0%
                                                                  (year-over-year)
          June 30, 2019
       End Balance $15,648 Billion                                Note: Percent change includes investment returns, contributions, and distributions.
                                                                                                                                      Source: Investment Agency Reports
10
                                                       9.2
                                                               Returns for the permanent funds fell short of their long-term investment targets
                                 8.1
 8 .                                                           in FYI 9, which are 7 percent for the land grant permanent fund (LGPF) and 6.75
                        6.4
                                                               percent for the severance tax pennanent fund (STPF). However, both pem1anent
 6                                                             funds exceeded their targets for the I 0-year periods ending in June 30, 2019, each
                                           5.3
                                                               returning at or above 9 percent. PERA's pension fund also fell short of its long-
 4
                                                               term target of 7 .25 percent, returning 6.4 percent in FY 19; however, the fund's
            3.1                                                10-year return of 9 .2 percent exceeds the investment target. The pension fund
                                                               managed by ERB was the only fund to beat its long-term target in FY19, returning
 2
                                                               7.3 percent compared with its long-term target of7.25 percent.
 O·
            ~           ~         a          ~          ~      Performance Relative to Peers
            ~
            0
                        ~         ~         ~           i      Analysts use InvestorForce Universe - which evaluates investment fund returns
            Return % -                    Target 7.25%         on a net-of-fee basis alongside approximately 60 public funds with $1 billion or
                                                               more in assets each - to compare investments fund performance with their peers.


11'1                                                                                                                                                            EXHIBIT D
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                                                                                                                                        Investments

The ERB pension fund was the only one of the state's investments to penonn
above the median for all periods reported. PERA performed above the median for                                           LGPF Total Portfolio
the quarter, one-year, and l 0-year periods, but ranked below the median for the                                           Returns as of
                                                                                                                           June 30, 2019
three- and five-year periods. The permanent funds penormed in the lowest quartile                                       End Balance $18.575 Billion
for the quarter, but the LGPF outperformed the median in all other periods and the
                                                                                                                   10                                    9.4
STPF has performed around the median.                                                                                                    9 .0

                   lnvestorForce Final+ Universe Rankings for Period                                               8
                                 Ending June 30, 2019
               0                         8                                    10                                                                  6.0
                                                                                                                    6             5.7
                                    23
        i
        .o
              25
                    39
                         29                                33 37                   35
                                                                                                27
                                                                                                     35
        .!a                                      40                 47                  42 41
        Cl)                                           53                                                  54       4
        '5 50
        ~                                                                70                                               2.6

        j     75                                                                                                    2



                     Quarter             1 Year            3 Year             5 Year            10 Year                                            ...
                                                                                                                                                   (ti
                                                                                                                                                          ...
                                                                                                                                                          (ti



                                 liil PERA        t. ERB    LGPF          STPF
                                                                                         Source: LFC Flies
                                                                                                                                                   ~      ~
                                                                                                                    ~          Return%          Target 7.0%

Notably, return-based peer rankings do not account for differences in asset                                                                       Source: SIC

allocation and risk tolerance. For example, funds with higher equity exposure will
rank higher during stock market rallies but risk significant losses in the event of a                                    STPF Total Portfolio
market crash. The agencies have each pursued diversifying strategies to mitigate                                               Returns
risk, with the understanding diversifying away from heavy stock market exposure                                          as of June 30, 2019
                                                                                                                         End Balance $5.273 Billion
means the funds might earn less (and lag their peers) in bull markets in favor of
                                                                                                                   10 . - - - - - - -- - --
additional stability in moderate or negative return markets.                                                                             8.8             9.0

Asset Allocations                                                                                                  8 -     -    - --

Less than 50 percent of New Mexico's assets are invested in public equities,
like the stock market. About 20 percent of three of the state's four investment
funds are allocated to fixed income assets, including bond funds . The exception is
ERB, whose assets are more concentrated in alternative investments, such as real
estate, real assets, and private equity. Following the Great Recession, the state's
investment funds diversified away from heavy public equity allocations in favor
of alternative assets that generate solid returns with less risk.


                              Asset Allocation as of June 30, 2019
       70%
                                                                                                                   ~       Return% -            Target 6.75%
       60¾
                                                                                                                                                  Source: SJC
       50%
       40%
       30%
       20¾
       10%
        0%
                         ERB                     PERA                LGPF                    STPF
                     □   Public Equity       I   Fixed Income   : Alternatives           Cash
                                                                                         Source; LFC Files
                                                                                                               g


                                                                                                                                                EX              D
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                                       STATE OF NEW MEXICO
                         13:aucationa{1{etirement 'Boar a
                                   701 CAMINO DE LOS MARQUEZ
                                           P.O. Box 26129
                                 SANTA FE, NEW MEXICO 87502-0129
                                       PHONE: (SOS) 827-8030
                                        FAX: (SOS) 827-1855



                                          April 25, 2018

The Honorable Duffy Rodriguez
Cabinet Secretary
Office of the Secretary
Department of Finance and Administration
180 Bataan Memorial Building
Santa Fe, NM 8750 l

             Re: Approval of Actions of Educational Retirement Board of Directors

Dear Secretary Rodriguez:

     The Board of Directors of the Educational Retirement Board ["Board"] has directed that I
communicate to you as the Secretary of the Department of Finance and Administration ["DFA"].

       On December 8, 20 I7 the Board took action to pass the following motions:

    1. Increase the salary range of the Executive Director, Jan Goodwin to pay range 70
       and increase her salary effective December 16, 2017 to $220,000.

    2. Increase the salary range of the Deputy Director, Rick Scroggins to pay range 46
       and increase his salary effective December 16, 2017 to $179,000.

    3. Increase the salary range of the Chief Investment Officer, Bob Jacksha, to pay
       range 60 and increase his salary effective December 16, 2017 to $260,000.

   4. Increase the salary of the General Counsel, Rod Ventura effective December 16,
   2017 to $130,000.

       The proper paperwork and submittals to effectuate these salary increases were submitted
to DFA on December 21, 20 I 7, but no action has been taken by OF A as of the date of this letter.
This most recent failure by DFA to act is not an isolated incident. Since 2016, the Board has
approved increases to the salaries of the Executive Director, Deputy Director, Chief Investment
Officer and General Counsel. Upon approval of such increases, the proper paperwork was sent
to OFA in order that such salary increases be implemented. In addition, in conjunction with the
most recent increases, a budget adjustment request ("BAR") was also sent to OFA for
implementation on December 21, 2017. This BAR was returned marked "Void. Executive does
not support salary increase". To date DFA has failed to implement the salary increases approved




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Letter to Secretary Duffy Rodriguez
April 25, 20 I 8
Page 2

by the Board, w itho ut cause, reason or j ustification and contrary to both constitutional and
statutory imperatives.

         The Board is autonomous with respect to its decisions pertaining to the Educational
Retirement Fund and its oversight and administration of the Fund, including decisions related to
the salaries of the ERB staff and adjustments thereto. The Board is established through Article
XX, Section 22 of the New Mexico Constitution and the Educational Retirement Act, Chapter
22, Article 11, NMSA 1978. The Constitution grants the Board the "sole and exclusive
fiduciary duty and responsibility for administration and investment of the trust fund held by
their [its] respective system[s)". [Emphasis added}. New Mexico Constitution, Article XX,
Section 22. Accordingly, the authority of the Board in regards to administration and investment
is not subj ect to review or objection by any other entity. Importantly, the fiduciary duty and
responsibility over the administration of the trust fund lies solely with the Board and not with
DFA. Statutory law directs, "(t]he Board shall. . . [2] hire emp loyees and delegate administrative
authority to these employees." Section 22-1 1-6 NMSA 1978. Further, the Board has the sole
authority to employ an educational retirement director, who is the administrative officer for the
board in carrying out the provisions of the Act and shall have additional duties provided for by
the Board in regulations. Section 22-1 1-7 NMSA 1978. In accordance with its authority and
responsibility, the Board adopted Rule 2.82.1.13 NMAC, which provides that the director serves
"at the pleasure of the board and at a salary set by the board" and with the responsibility for
staffing all positions, including the "authority for the employment, promotion and dismissal of
all employees." Id.

        Neither the Constitution, statutory or case law or regulations grant OFA the authority to
refuse, thwart, or fail to implement the decisions of the Board. Some may try to c ite to the
DFA's statutory authority over budgets and budgets adjustments of state agencies, Sections 6-3-7
and 6-3-24 NMSA 1978, to argue that DFA may refuse to im plement the decisions of the Board;
such an attempt is an incorrect overreaching of those sections. These statutes may provide DFA
with authority to approve an overall budget of the agency, but they do not provide DF A with the
a uthority to disapprove salary increases when such increases are within the budget of an agency.
More pointedly, DFA does not have the authority to void a BAR because the "Executive does
not support salary increase". State statute provides that the state budget division of DFA " may
approve budget adjustments for state agencies as provided by law." Section 6-3-24 NMSA 1978.
However, the law does not provide that DFA can substitute its own, or the executive's policy
judgment on behalf of ERB. This is particularly true given the Constitution's grant to the Board
of sole and exclusive fiduciary duty and responsibility for the administration of the fund . New
Mexico Constitution, Article XX, Section 22.

        Further, ERB is not a state agency nor is it administratively attached to any constitutional
officer or state agency or state department over which DFA can exercise any authority. The ERB
is an adjunct agency, autonomous with its sole duty and authority and unfettered responsibility
for the Fund and to its members. Although DFA may assert that it has authority or responsibility
over the state general fund, the ERB Fund does not rely on general funds for its operation, so any
argument endeavoring to j ustify any DFA authority w ith respect to the ERB and its Fund fails.

        In this regard, the Executive Reorganization Act, Section 9-1-1 to 9- l -l ONMSA 1978 is
instructive. Creating a framework for the executive branch of state government, this Act denotes
the principal unit of the executive branch as a department, w ith a secretary as the head of a
department. A secretary is appointed by the Governor with the consent of the Senate and serves




                                                                                                       EXHIBIT E
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Letter to Secretary Duffy Rodriguez
April 25, 2018
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at the pleasure of the Governor. "Adjunct agencies" are also defined as "[t)hose agencies,
boards, commissions, offices of other instmmentalities of the executive branch, not assigned to
the elected constitutional officers, which are excluded from any direct or administrative
attachment to a department, which retain policymaking and administrative autonomy separate
from any other instrumentality of state govemment. Elected "constitutional officers" are the
governor, lieutenant governor, secretary of state, state auditor, state treasurer, attorney general
and commissioner of public lands. The ERB is not assigned or attached administratively or
otherwise to any elected constitutional officer by constitution or law. Unlike a department
secretary, the director of the ERB serves at the pleasure of the ERB, not the Governor. There are
no statutes that grant any other officer in the executive depa1tment, or the executive branch any
authority over the employment, promotion or discharge of the ERB director or other ERB staff
members. Accordingly, the Board maintains that any effort by DFA or its employees to veto,
undo or override the decisions and actions of the Board on salaries is unlawful and invalid.
Implementation of the Board's decisions and actions, including adjustments to any ERB 's
employee's salary is a mandatory, non-discretionary duty which may be enforced through a
judicial writ.

       At this time, the afore-mentioned salary increases for the Executive Director, the Deputy
Director, the Chief Investment Officer and General Counsel, which were approved by the Board
on December 8, 2017 still await implementation by DFA. These actions were submitted to DFA
and remain pending in your office since December 21, 2017.

       Please provide us with a status update of these approvals on or before May 24, 2018 so
that we may plan accordingly.

       I look forward to hearing from you.



Sincerely,




Mary Lou Cameron, Chair
Board of Trustees, Educational Retirement Board
P.O. Box 2302
Deming, New Mexico 88031

575-494-2796




                                                                                                      EXHIBIT E
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                                           STATE OF NEW MEXICO
                              ~~o\l!Al'1?.t,tiret,iett+ °0Mra
                                        701 CAMINO DE LOS MARQUEZ
                                        SANTA FE. NEW MEXICO 37SOS
                               P.O. Box 26129 SANTA FE, NEW MEXICO 87.502-0129
                                               PHONE: (SOS) 827-8030
                                               FAX: (SOS) 827-18SS



June 1,2018

Ms. Betty Garcia
Exempt Pay Plan Administrator
DFA St.ate Budget Division

Re: New Mexico Educational Retirement Board Executive Director Reclassification and Increase

Dear Ms. Garcia,

The New Mexico Educational Retirement Board at its May 24, 2018 meeting voted to increase the salary range
of the Executive Director, Jan Goodwin to pay range 70 and increase her salary effective May 26. 2018 to
$240,000 annually.

1hank you for your attention to this action by the Board. Please don't hesitate to contact me if you have any
questions concerning these actions. I can be reached by phone at (575) 492- 2796 or by email at
m1cameron48@gmail.com



Sincerely

11\__~ ~ ~WUJ)V
Mary Lou Cameron
New Mexico Educational Retirement Board Chairperson




                                                                                                           EXHIBIT E
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                PERSONNEL / POSITION ACTION REQUEST FORM
  Business Unit: 35200                J Current     Posn. #: 00003204               j Proposed Posn. #:
  EmpJ. Name: Jan Goodwin                                          I EmpL ID: l 00568
Personnel Data
 Personnel Action: Pay Rate Change
 attached memo
                                                               Reason     (Requ1tte1):   see         I Effective Date: 5/2612018

 DOB:                         I
                          Gender:                           I Highest Education Level~
 Marital Status:                                      As of (Date);                                  ISSN:        - -
 Home Address:
 Citv:                    State:                      Zip Code:                                County:
 Home Phone: (        )   -         e.xt.           I E-mail:                                      J Ethnicity:
 Military Status:                                  I E:xpeeted Job End Date:                             I Officer Code:
 Task Group: 352000001                                 Task Profile: 352000001                                 j Pay Group: GVX
 Current Dourly Rate: $ 79.129046                      Proposed Rate: $                             Annual. Salary:$ 240,000.00
                                                       115.384615
 FICA: Subject                    I FTE: I             Retirement Plan: SPLAN3                     Comments:

Current Position Data
 Position Title: Exec Dir Investments/Pensions                                                    Effective Date: 5/29/201 0
 Supervisory: Yes                            .Job Code: 7387                                      Reg/Temp: REG/PERM
 Full/Part: Full Time                Union Code: NN                                               Short Title (0-99): I
 Department: Office of the Director, Locatic)n: SF-701 Camino de los                              Reports To Posn. :
)000000000                                   Marquez,995-082084
Supervisor Level: A                          FLSA Status: Executive                               End Date:

Proposed POSI·nOD Data
Position Action: Reclassify                        Other (If Applicable):
Position Title: Senior Investment Officer (Executive Director)                                   Eff~tive Date: S/26/201 8
Supervisory:                                , Job Code: 7710                                     Reg/Temp:
Full/Part:                                   Union Code:                                         Short Title (0-99):
Department:                                  Location:               Reports To Posn. :
Supervisor Level:                  FLSA Status:                      End Date:
Does this Position Require a BAR? Yes    Please Document All Position Changes Here: Reclassifying from
                                                           Exec Dir Investments/Pensions (42) to Senior Investment
                                                           Officer (70)

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                                                                Phone


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                                                                    EXHIBIT F
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Goodwin, Jan, ERB

From:                              Mark Baker <mbaker@peiferlaw.com>
Sent:                              Sunday, November 29, 2020 9:09 AM
To:                                Goodwin, Jan, ERB; Ventura, Roderick, ERB
Subject:                           [EXTI FW: ERB Issue
Attachments:                       4-25-18-- letter to DFA-- final v2.pdf



FYI.

-----Original Message-----
From: Mark Baker
Sent : Sunday, November 29, 2020 9:08 AM
To: matt.garcia@state.nm.us
Subject : ERB Issue

Matt,

Thanks for making time to talk Tuesday. Here's t he letter ERB previously sent laying o ut the general legal argument for
its authority to set salaries for staff. I appreciate you being straight-up in telling me I'm not likely to get movement on
this, but I think the discussion is worthwhile. I view the ERB's status as a constitutionally-created board with an
independent fiduciary duty to administer t he educational retirement fund, along with the fact that everyone is paid
through ERB funds rat her t han general fund money, as compelling reasons to look at this differently t han other salary
determinations.

From a more practical standpoint, the Board's requests have been aimed at bringing professional staff salaries closer to
the median for similar funds across t he count ry. Given t he need to recruit people qualified to administer the fund in a
manner that fulfills the Board's fiduciary obligations, they need flexibility outside the salary determinations t he governor
makes for other state agencies. I also see some disparities across t he State's three major f unds -- SIC, PERA, and ERB,
that warrant scrutiny.

We can go through it Tuesday and see where t hings stand.

Mark

Mark T. Baker
Peifer, Hanson, Mullins & Baker, P.A.
Post Office Box 25245
Albuquerque, New Mexico 87125
Tel: (505} 247-4800
Fax: (505} 243-6458




                                                                                                                EXHIBIT G
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                                                                  FILED 1st JUDICIAL DISTRICT COURT
                                                                                       Santa Fe County
                                                                                   2/22/2021 11:26 AM
STATE OF NEW MEXICO                                             KATHLEEN VIGIL CLERK OF THE COURT
                                                                                           Faith Griego
COUNTY OF SANTA FE
FIRST JUDICIAL DISTRICT                             Case assigned to Mathew, Francis J.
       Case No.   ___________________
                  D-101-CV-2021-00353


 NEW MEXICO EDUCATIONAL RETIREMENT
 BOARD,

        Plaintiff,

 vs.

 DEBBIE ROMERO, in her official capacity as
 Acting Secretary of the New Mexico Department
 of Finance and Administration, AND THE NEW
 MEXICO DEPARTMENT OF FINANCE AND
 ADMINISTRATION,

        Defendants.



                     COMPLAINT FOR DECLARATORY JUDGMENT

       Plaintiff New Mexico Educational Retirement Board (“NMERB”), by its attorneys,

Peifer, Hanson, Mullins, & Baker, P.A., for its Complaint for Declaratory Judgment against

Defendants Debbie Romero and the New Mexico Department of Finance and Administration

(collectively “DFA”) states:

                                   NATURE OF THE CASE

       1.      Under Article XX, Section 22 of the New Mexico Constitution, the NMERB has

the “sole and exclusive fiduciary duty and responsibility for administration and investment of the

trust fund” it oversees – the Educational Retirement Fund, which holds and invests more than

$14 billion for the benefit of New Mexico public school and higher education institution faculty

and staff, and other education officials. NMERB brings this action to stop ongoing interference




                                                                                                     EXHIBIT H
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by DFA in decisions the NMERB Board of Trustees (the “Board”) has made regarding the

compensation of professional staff necessary to fulfill the Board’s constitutional obligations.

                            PARTIES, JURISDICTION, AND VENUE

        2.        NMERB is constitutionally established through Article XX, Section 22 of the

New Mexico Constitution and statutorily governed by the Educational Retirement Act, Chapter

22, Article 11, NMSA 1978. NMERB is not a cabinet department nor is it administratively

attached to any constitutional officer or state agency or department over which DFA can exercise

authority.

        3.        DFA provides fiscal oversight to New Mexico state general funds, agencies, and

local governments and may exercise only those powers expressly conferred by statute.

        4.        This Court has jurisdiction over the parties and subject matter under NMSA 1978,

§ 44-6-2 (declaratory judgment), and N.M. Const. art. VI, § 13 (district courts).

        5.        Venue is proper in this court pursuant to NMSA 1978, § 38-3-1(A).

                                    GENERAL ALLEGATIONS

        6.        Management of NMERB is vested in the Board, which is composed of seven

members.

        7.        The Board stands in a fiduciary relationship to the members covered under the

Educational Retirement Act.

        8.        The Board is required by statute to hire staff and delegate administrative authority

to these staff.

        9.        The Board’s ability to pay competitive salaries necessary to attract and hire staff

capable of making decisions related to the NMERB’s $14 billion fund is both inherent in its

fiduciary obligations and essential to fulfilling those obligations.




                                                                                                         EXHIBIT H
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         10.     The NMERB is responsible for investing the Educational Retirement Fund for the

benefit of over 163,400 current and former employees of New Mexico’s public school systems

and higher education institutions, and other education officials.

         11.     NMERB must compensate professional staff at competitive levels given the size

of the fund, the sophistication required to competently manage and invest it, and national

competition in the public and private sector for individuals qualified to do this work. The Board

has determined that remaining competitive in that market is essential, and that it cannot be

competitive if salaries are limited based on other considerations such as the compensation the

state pays in other areas of New Mexico government that are not impacted by the same

competitive market for a limited pool of candidates qualified to manage billions of dollars in

retirement funds.

         12.     Administrative management of the fund is vested in a Director appointed by the

Board.

         13.     The Board has the sole authority to employ the Director, who is the administrative

officer for the Board charged with carrying out the provisions of the Educational Retirement Act

and who has additional duties provided for by regulation. Moreover, the Legislature has

specified that “[t]he amount of salaries and fees to be paid by the board shall be fixed by the

regulations of the board.” NMSA 1978, § 22-11-10(A).

         14.     In accordance with its authority and responsibility, the Board adopted regulations

providing that the Director serves “at the pleasure of the board and at a salary to be set by the

board” and with the responsibility for staffing all positions including the authority for the

employment, promotion, and dismissal of all staff. 2.82.1.13 NMAC.




                                                                                                      EXHIBIT H
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         15.     NMERB does not rely on state general funds for its operation, including payment

of salaries. All salaries for NMERB staff are paid using NMERB funds.

         16.     Beginning in 2016, the Board more closely evaluated the compensation NMERB

paid to professionals it employs as staff. That led the Board to conclude it needed to increase

pay in order to fulfill its constitutionally imposed fiduciary responsibilities. In particular, the

Board established a plan in June 2016 designed to bring compensation for staff closer to the

median compensation paid by comparable public pension funds across the country as determined

based on national data compiled by McLagan, a respected source of compensation data for

professionals.

         17.     When the Board began that process, the McLagan study showed that salaries for

NMERB professional staff were in the bottom quartile for comparably-sized public pension

funds.

         18.     The Board voted to change the classification of certain investment staff

professionals from classified to exempt and raise their salaries over a three-year period.     The

Board likewise voted to increase the salaries of the Executive Director and the Deputy Director

over the same three-year period.

         19.     DFA undermined the Board’s plans to ensure the NMERB paid salaries necessary

to retain and recruit staff qualified to fulfill the Board’s fiduciary obligations.

         20.     Between June 24, 2016, and November 13, 2020, DFA refused to implement a

long series of Board-approved salaries for 13 NMERB staff members. The first two years of

salary increases for some but not all investment staff professionals were implemented in 2018

and 2019, and DFA refused the final year of proposed increases for investment staff outright.

DFA also refused to implement Board-approved salary increases for all other staff.




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       21.     NMERB provided all proper paperwork and submittals to DFA to effectuate the

salary increases the Board approved.

       22.     In conjunction with the December 2017 Board approved salary increases,

NMERB sent a budget adjustment request (“BAR”) to DFA for implementation on December

21, 2017. This BAR was returned marked “Void. Executive does not support salary increase.”

       23.     On April 25, 2018, the Board Chair, Mary Lou Cameron, advised Cabinet

Secretary Dorothy Rodriguez that DFA unlawfully refused to implement the Board approved

salaries, but still DFA did nothing.

       24.     As a result of DFA’s actions, the Board has lost critical personnel and the

opportunity to hire candidates qualified for other positions, and NMERB staff morale has

suffered.

       Professional Staff Member 1

       25.     On June 24, 2016, the Board approved a raise for Professional Staff Member 1

effective that same date. DFA’s refusal to implement this Board-approved salary resulted in

Professional Staff Member 1 being underpaid by $19,997.48 between June 24, 2016, and June

30, 2017.

       26.     The Board approved a second raise for Professional Staff Member 1, effective

July 1, 2017. DFA’s refusal to implement this Board-approved salary resulted in Professional

Staff Member 1 being underpaid by $18,031.57 between July 1, 2017, and December 15, 2017.

       27.     On December 8, 2017, the Board approved a raise for Professional Staff Member

1, effective December 16, 2017. DFA’s refusal to implement this Board-approved salary

resulted in Professional Staff Member 1 being underpaid by $26,075.59 between December 16,

2017, and May 26, 2018.




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       28.      On May 24, 2018, the Board approved a raise for Professional Staff Member 1,

effective May 26, 2018. DFA did not approve that salary increase and instead limited it. DFA’s

refusal to implement the Board-approved salary resulted in Professional Staff Member 1 being

underpaid by $57,727.85 between May 26, 2018 and June 1, 2019.

       29.      DFA’s failure to implement the Board approved salary increases for Professional

Staff Member 1 resulted in Professional Staff Member 1 being underpaid by a total of

$121,832.48.

       Professional Staff Member 2

       30.      On December 8, 2017, the Board approved a raise for Professional Staff Member

2, effective December 16, 2017. DFA’s refusal to implement this Board-approved salary

resulted in Professional Staff Member 2 being underpaid by $9,932.57 between December 16,

2017, and May 26, 2018.

       31.      On May 24, 2018, the Board approved a raise for Professional Staff Member 2,

effective May 26, 2018. DFA did not approve the raise and instead limited it. DFA’s refusal to

implement the Board-approved salary resulted in Professional Staff Member 2 being underpaid

by $18,864.53 between July 14, 2018, and July 13, 2019.

       32.      On June 19, 2020, the Board approved a raise for Professional Staff Member 2,

effective that same day. DFA’s refusal to implement the Board-approved salary resulted in

Professional Staff Member 2 being underpaid by $34,494.22 between June 19, 2020, and

November 13, 2020.

       33.      DFA’s failure to implement Board-approved salary increases for Professional

Staff Member 2 resulted in Professional Staff Member 2 being underpaid by a total of

$63,291.32.




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       Professional Staff Member 3

       34.      On June 24, 2016, the Board approved a raise for Professional Staff Member 3

effective the same day. DFA’s refusal to implement the Board-approved salary resulted in

Professional Staff Member 3 being underpaid by $11,597.71 between June 24, 2016, and

December 9, 2016.

       35.      On December 9, 2016, the Board again voted to approve the same salary increase.

Based on DFA’s historical failures to approve salaries, the Board made this raise effective upon

DFA approval, which never happened.

       36.      On December 8, 2017, the Board approved a raise for Professional Staff Member

3, effective December 16, 2017. DFA’s refusal to implement the Board-approved salary resulted

in Professional Staff Member 3 being underpaid by $24,508.97 between December 16, 2017, and

May 26, 2018.

       37.      On May 24, 2018, the Board approved a raise for Professional Staff Member 3,

effective May 26, 2018. DFA did not approve the raise and instead limited it. DFA’s refusal to

implement the Board-approved salary resulted in Professional Staff Member 3 being underpaid

by $166,589.65 between May 26, 2108, and November 13, 2020.

       38.      DFA’s failure to implement Board approved salary increases for Professional

Staff Member 3 resulted in Professional Staff Member 3 being underpaid by a total of

$202,696.33.

       39.      Having served in New Mexico government with distinction for decades,

Professional Staff Member 3 was prepared to take a higher-paying position with a public

retirement fund outside New Mexico in March 2016. When the Board learned that Professional

Staff Member 3 was being recruited for that position, Board members secured Professional Staff




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Member 3’s agreement to remain at NMERB based on assurances that the Board would take care

of the compensation discrepancy.

       Professional Staff Member 4

       40.     On June 23, 2017, the Board approved a raise for Professional Staff Member 4

effective the same day. DFA’s failure to implement the Board-approved salary increase resulted

in Professional Staff Member 4 being underpaid by $9,203.30 between June 23, 2017, and May

24, 2018.

       41.     On May 24, 2018, the Board approved a raise for Professional Staff Member 4

effective May 26, 2018. DFA did not approve the raise and instead limited it. DFA’s refusal to

implement the Board-approved salary resulted in Professional Staff Member 4 being underpaid

by $9,538.46 between May 26, 2018, and December 1, 2018.

       42.     On June 28, 2019, the Board approved a raise for Professional Staff Member 4

effective July 13, 2019. DFA did not approve the raise and instead limited it. DFA’s refusal to

implement the Board-approved salary resulted in Professional Staff Member 4 being underpaid

by $26,131.36 between June 28, 2019 and November 13, 2020.

       43.     DFA’s failure to implement the Board approved salary increases resulted in

Professional Staff Member 4 being underpaid by a total of $44,873.12.

       44.     In January 2021, Professional Staff Member 4 resigned from NMERB in favor of

a higher paying position elsewhere.

       Professional Staff Member 5

       45.     Professional Staff Member 5 already was working for NMERB when the Board

sought to adopt two simultaneous changes to Professional Staff Member 5’s status in July 2019.




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That involved both changing the position Professional Staff Member 5 held to exempt from

classified and increasing Professional Staff Member 5’s salary.

       46.     On June 28, 2019, the Board approved Professional Staff Member 5’s raise,

effective July 13, 2019. DFA did not approve the raise and instead limited it. DFA’s refusal to

implement the Board-approved salary resulted in Professional Staff 5 being underpaid by

$17,410.99 between July 13, 2019 and June 30, 2020.

       47.     This imposed on Professional Staff Member 5 dual hardships – losing the

protection of being a classified employee and being denied the benefit of the raise the Board

approved.

       48.     On June 30, 2020, Professional Staff Member 5 resigned in favor of a higher

paying position with another public entity in New Mexico.

       49.     NMERB has not been able to fill Professional Staff Member 5’s position since

June 30, 2020, and has consequently been without an employee to perform Professional Staff

Member 5’s essential functions.

       50.     In seeking to fill this critical position for NMERB, the Board proposed offering a

qualified candidate a specific salary of $125,000. DFA again refused to approve, and the

candidate declined the limited salary NMERB was able to offer.

       Professional Staff Member 6

       51.     On June 28, 2019, the Board approved a salary increase for Professional Staff

Member 6, effective July 13, 2019. DFA did not approve the raise. DFA’s refusal to implement

the Board approved salary increase resulted in Professional Staff Member 6 being underpaid by

$35,627.14 between July 13, 2019 and November 13, 2020.




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       Investment Professionals

       52.     DFA similarly blocked Board-approved salary increases for investment

professionals that the Board had approved In June 2016. As with the professional staff

mentioned in the preceding paragraphs, the Board had approved raises for investment

professionals to be implemented over a three-year period beginning in 2016, and DFA refused to

implement the increase that was set to be effective April 4, 2020.

       53.     These raises also were part of the plan to bring NMERB staff pay closer to the

median for equivalent funds nationally, and the investment professionals also had their positions

changed from classified to exempt as part of that process.

       54.     DFA’s refusal to implement the Board-approved raises resulted in underpayments

for investment professionals of $24,731.04, $16,291.87, $12,775.99, $9,409.83, $8,932.74,

$6,294.97, and of $2,487.15 for each impacted investment professional respectively.

       55.     The New Mexico Constitution, New Mexico statutes, case law and regulations do

not grant DFA the authority to refuse, thwart, or fail to implement the Board’s decisions.

       56.     DFA’s role is strictly ministerial in implementing salary determinations made by

the Board.

       57.     The Governor’s role with NMERB is limited to appointing members to the Board.

The Governor has the statutory authority to appoint two members to the Board for terms of four

years each. In addition, the Governor’s appointed Secretary of the Public Education Department

or that person’s designee also serves on the Board.

       58.     The Governor does not have authority to interfere with the Board’s fiduciary

obligations, including the Board’s determinations regarding appropriate salaries to pay NMERB

staff. As a result, DFA never should have submitted NMERB salary increases to the Governor’s




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office for approval, and directives from the Governor’s office related to NMERB staff

compensation are not a basis for changing Board-approved decisions.

                             COUNT I: DECLARATORY JUDGMENT

        59.        NMERB re-alleges and incorporates by reference all preceding paragraphs as if

fully set forth.

        60.        A justiciable controversy exists between NMERB and Defendants because

Defendants refuse to implement salaries NMERB has approved in its sole constitutional and

statutory discretion to implement salaries for NMERB staff.

        61.        Plaintiff NMERB contends it is an adjunct agency, autonomous with its sole duty

and authority and sole responsibility for the fund and to its members.

        62.        Plaintiff NMERB contends that pursuant to this responsibility, the Board has sole

and exclusive authority to set salaries and make personnel decisions related to NMERB and

using NMERB funds.

        63.        Defendants’ actions indicate that they wrongly insist DFA has the authority to

reject Board-approved salary increases and also may or must seek the Governor’s approval to

implement Board-approved salary increases.

        64.        The relief requested herein will terminate the controversy or remove the

uncertainty regarding this dispute.

        65.        This action is brought pursuant to the provisions of the Declaratory Judgment Act,

NMSA 1978, §§ 44-6-1 to - 15.

        WHEREFORE, Plaintiff NMERB, prays as follows:




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A.     For a Judgment declaring that the Board of Trustees of Plaintiff NMERB has sole

       and exclusive authority to set salaries and make personnel decisions related to the

       NMERB.

B.     For a Judgment declaring the rights, duties and obligations of all parties hereto

       and matters herein.

For such other further and different relief as the Court may deem just and proper.



                                     Respectfully submitted,

                                     PEIFER, HANSON, MULLINS & BAKER, P.A.

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                                     Board




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                                                 2020 EVALUATION

                                                      JAN GOODWIN

                                           NM ERB EXECUTIVE DIRECTOR


     1.      Financial Performance
            4, 4.5, 4,4.5. 5
           Comments : Overall this goal is being addressed.
           Certainly, she continues to exceed performance expectations, despite the way she has been
           treated the previous NM administration to not allow us to reward her financially at a level she
           certainly deserves. She performs all these financial tasks exceptionally w ell.
    2.     Leadership
           4, 4.5, 5, 4.5, 5
           Comments: High salaries for investment officer with lower salaries for staff such as lower
           executive staff; Overall, this goal is being addressed; Jan is a very effective leader; Certainly,
           exceeds expectations to outstanding. Jan's leadership is quiet, informed, but never overbearing.
           She speaks clearly and answers questions in a precise, positive, and understandable manner.
    3.     Organizational Development
           4.5, 5.0, 5.0,5.0, 5
           Comments: Very good job! Outstanding. Jan is one of the best organized people I have ever
           met, which allows her to juggle all these balls/tasks in a nearly f lawless manner.
    4.     Public Relations
          4.0, 4.0, (no basis for evaluation); 5;4.5
          Outstanding in my opinion. I often imagine myself in her position dealing with contentious
          legislators and stakeholders and uninformed media personnel trying to create a new Headline.
          could not do what she does in maintaining her "cool" and always acting and responding in a
          most professional manner to represent ERB in the most positive way possible. We are never
          embarrassed by how she responds to all constituents or how she is quoted in the lay press.


   5. Personal and Professional Development

          4.5, 5.0, (no basis for evaluation), 5, 5

          This is an area of strength. Unable to evaluate. I do not know about these kinds of activities in
which she may participate, nor do I know what the industry standards may be.

  6. Strategic Planning

          4.5,4.5, 5, 5, 5
          Overall, th is goal is being addressed; however, the Board does not spend near enough time
          looking at how to do a better jo addres·sing the strategic plan.




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         Jan displays an excellent command of the issues we have. Outstanding. She always seems to
         have a Strategic Plan on the books and one in her back pocket when changes need to be made.
         She keeps the plans fluid.



    7. Board Relations

         4.5, 4.5, 5, 5,4.5

         Overall, this goal is being addressed. Outstanding in every respect.



    8. Overall Evaluation Comments

 *Progress on Current Board Recommended Objectives for Improving Performance as Executive Director:

 Organized. Members sometimes find her not sensitive to their needs.

 *Executive Director should continue to address the public perceptions of ERB:

         1.    How NM ERB listens to its constituents? Teachers, Public Schools, substitutes, etc.
         2.   How NM ERB addresses controversial issues?
         3.   How NM ERB addresses public confidence in the fund, especially as the economy struggles
              with the pandemic.
              This area continues to be a weak link in t he system.

 *To find a consistent approach to the salary issue.

         Need to find a way to address the sa lary issue for the leadership that is consistent and fair.
Board also needs to be aware of how staff is being compensated.

"To continue to communicate with new legislators.

        In 2021, we have more new legislators than normal. There is a need to continue to reach out to
new Legislators and help them to understand ERB and pensions.

I place a very high value on her daily efforts as Executive Director of the ERB, and I believe that every
member of the Board is equally impressed by her Daily performance in that capacity. Jan has a work
ethic that is laser-focused to assure that ERB members get the absolute best return on their life-long
investments.

Working closely with Bob Jacksha, our Chief Investment Officer, and Alan Myers, our Accounting and
Operations Manager, their combined ability to manage ERB funds, under Jan's leadership is simply
outstanding. I mention this because under their scrutiny our invested funds constantly seem to
outperform other comparable funds and they achieve these results while simultaneously suppressing
the decision to invest in more risky investments. I am constantly amazed at our quarterly reports that
show, in the vast majority of cases, how well our funds have done and how well our investments are
positioned.




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Additionally, I see her work tirelessly, yet diplomatically, with sometimes contentious stakeholders, and
make concise, yet clear, presentations to numerous legislative committees on behalf of ERB. I have the
sense that her status among the state legislators with whom she interacts is positive and that they
respect her opinion and depth of knowledge on the topics she addresses.




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                               Jan Goodwin Goals for 2020-2021



1.    Develop contact with new legislators in the 2021 session to help them understand the work and
      impact of the ERB in providing retirement benefits to all New Mexico educational employees.
2.    Develop and implement a plan to educate members, at different stages oftheir career, about
     the importance and value of their defined benefit retirement plan and what the benefit
     constitutes.
3.   Continue to educate the governor and/or staff, key legislators and ERB stakeholders about the
     importance of improving ERB's sustainability. Continue to provide and develop evidence on the
     need to increase the employer contribution rate as shown in the BBER report on the disparity in
     benefits between ERB members and state employees.
4.   Continue communication with all Board members when situations arise that may cause
     legislative/public scrutiny.
5.   Continue to expand use of social media for communicating with ERB members, legislators and
     the public.




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                   2020 NM ERB Executive Director Self Evaluation

 Executive Director's Name: Jan Goodwin

 Date:

 Rating Key
5 = Outstanding Performance
4 = Exceeds Performance Expectations
3 = Meets Performance Expectations
2 = Requires Minor Improvements to Meet Performance Expectations
1 = Requires Significant Improvement to Meet Performance Expectations


AREA OF REVIEW
1. Financial Performance
   *Monitors the performance of the portfolio.
   *Ensures contributions and income are invested in accordance with the established
Board policies.
   *Recommends investment policy and operational procedures that will enhance the
investment program of the NM ERB.
   *Ensures that proper internal controls are developed to safeguard the assets of the
system.

 Executive Director Self-Rating for Financial Performance: 4.8
 Comments:
 Consistent with the balance of my tenure at ERB, I regularly confer with Bob Jacksha,
 ERB's Chieflnvestment Officer, on our portfolio's investment performance and our
 adherence to the Board's policies on investments. I have worked closely with Bob to
 implement the pay structure the Board approved for the Investment staff in 2016, which
 included changing the status of professional investment staff from classified to exempt
and increasing their salary over a three-year period so it would be closer to median of
other similar-sized US public pension plans. After extensive discussions with Governor
Martinez's staff, the first phase of salary increases and the classification of the
professional staff from classified to exempt took place in April 2018. The second phase
of salary increases were implemented in April 2019. To date, the Lujan Grisham
administration has not implemented the third and final phase of salary increases for the
professional investment staff.
Our investment performance continues to be strong relative to our peers and our policy
index. For example, in calendar year 2018, ERB was one of only three US public pension
plans to have a positive net return for the year. In addition, for the ten years ended June
30, 2019, ERB's out performance was $1.35 billion, compared to our policy index. At the
same time, we have been able to lower our volatility and increase our Sharpe ratio. ERB
continues to be the onJy large New Mexico state investing agency that manages assets
internally. We continue to use other cost-effective strategies such as co-investing. In
total, these strategies save us approximately $71 million per year and contribute to our
strong performance. The Legislative Finance Committee commented favorably on our



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strong performance in its January 2020 policy and performance analysis of all state
agencies, noting that "ERB was the only fund to beat its long-term target in FYI 9" and
that "The ERB pension fund was the only one of the state's ... (investment agencies] to
perform above median for all periods reported".
We continue to use the model for transparent financial reporting that I developed in 2016.
This model was the basis for Senate Bill 2 in the 2017 legislative session, which proposed
extending the reporting model to the State Investment Council, the Public Employees
Retirement Association and the State Treasurer's Office. Although the bill passed both
houses, Governor Martinez vetoed it.
We continue to use the services of REDW for internal audit work. Since August 2018
they have provided us with eight reports focusing on these issues: enterprise risk
management; benefit payments and refunds; service credit; investment management
selection; census data; information technology; and governance.


2. Leadership
   *Initiates, establishes, and implements policies, procedures, and standards for the
system operation.
   *Plans, organizes, and administers all program areas for which the system is statutorily
responsible.
   *Manages system in cost effective manner.

 Executive Director Self-Rating for Leadership: 5
 Comments:
 During the summer of 2018, I worked with our Stakeholder Group to develop legislation
to improve ERB 's sustainability for the 2019 legislative session. The Stakeholder Group
 consists of the unions that represent ERB members (NEA, AFT, ATF, AFSCME and
 CWA), ERB employers and retirees. The proposal, which was approved by the Board in
December 2018, included a tiered multiplier for new hires (to end the subsidy for
members with short ERB careers), requirement for all retirees working for ERB
employers and their employers to pay contributions, requirement for all PERA retirees
working for ERB employers to pay contributions, requirement that all substitute teachers
working more than 0.25 FTE and their employers to pay contributions, and an increase in
the employer contribution. The bill was successful, with the exception of the employer
contribution increase. The legislation decreased ERB's funding period from 70 years to
47 years.
I continued work with the Stakeholder Group in the summer of 2019 to develop a new
proposal for the Board's consideration to present to the 2020 legislative session.
Although the Board endorsed the proposal, the legislature and the Governor chose to
address PERA's insolvency issues, which they considered more pressing.
One of the challenges of getting the legislature and the Governor to focus on ERB is that
we are not facing a crisis. In addition, for decades the ERB members have paid more for
their retirement benefits and have received lower retirement benefits than state
employees. At the same time, the employer contribution rate for state employees has been
consistently higher than that for ERB employees. I have worked with our actuaries to
prepare graphs to demonstrate these points and to show how the burden of changes and
contribution increases have been borne by active members, retirees and the state. To
further buttress these points and demonstrate to the Governor and the legislature that the
only change we need is to increase the employer contribution, ERB entered into a



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 contract with the University of New Mexico's Bureau of Business & Economic Research
 (BBER) to show how over time our members have paid more in retirement contributions
 and have received significantly less in retirement benefits. The Director of BBER, Jeffrey
 Mitchell, presented his preliminary report to the Board at its June meeting. His final
 report will be ready soon and will be distributed to the Board. The BBER contract also
 includes presentations to the Governor and a legislative committee. I will also present the
 report to the Stakeholders Group later this summer.
 Bob Jacksha and I regularly discuss how to manage ERB in a cost-effective manner,
 consistent with our duties as fiduciaries. In November 2017, we ended our contracts with
 external managers for US mid and small cap equity managers as active management of
 these asset classes was not cost effective. We are now managing these assets internally in
 a passive S&P 400 index fund.
 Last summer and fall after extensive discussions with the Board and ERB legal staff the
 Board adopted a divestment policy. The Board's policy recognizes that the Board's
primary responsibility is the administration of retirement benefits, rather than structuring
the investment portfolio in the furtherance of social goals. This has been, and will
continue to be, a very contentious issue for some of our members.
I continue to participate on the board of the New Mexico Retiree Health Care Authority
(RHCA). ERB's Executive director is an ex officio member of that board. I continue to
serve as the Chair of the Wellness and Audit Committees. I also serve on the Finance and
Legislative Committees. Unlike ERB, RHCA has a solvency issue and I regularly stress
the importance of improving sustainability and reaching I 00% funding.
We have directed our actuaries to develop two calculators for our members. The first
calculator helps members decide if they should participate in ERB's Return to Work
program, which expires at the end of calendar year 2021. ERB retirees have the option to
suspend their retirement and earn additional service credit if they go back to work. For
most retirees, unless they work for more than 11 years, they are better off suspending
retirement and retiring with a higher pension when they stop working. The second
calculator helps retirees who are younger than age 55 decide if they should retire by July
1, 2021 to participate in RHCA's subsidized health insurance coverage. Beginning July 1,
2021 retirees will have to be 55 or older to eligible for RI-ICA coverage. The actuaries are
working with our retirement software provider to integrate the calculators into our
website. I anticipate that the calculators will be available in the next month or two. I have
already arranged with NEA and AFT for their members to help us with usability testing.

3. Organizational Development
   *Directs, supervises, and ensures completion of functions and activities of all
administrative staff.
   *Assumes responsibility for the development or approval of all program changes, work
methods and procedures.
   *Confers with managers regarding program development and revision.
   *Directs development of budgetary requests for the system for review and approval by
the Board.
   *Establishes and maintains effective relationships with administrative staff of other
agencies, employee organizations, consultants, state officials, members, and the public at
large.
   *Ensures that proper internal controls are developed and implemented to keep the
operation of the system functioning successfully.




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  Executive Director Self-Rating for Organizational Development: 4.8
  Comments:
  The last few months have been challenging because of the global pandemic.
  Nevertheless, we have continued to pay all retirement benefits on time to our retirees. We
  transitioned all staff, with very few exceptions, to working remotely in a matter of days
  by working with administrative staff and our Information Technology group to ensure
  that our staff have the equipment they need to work effectively from home. With the
  gradual reopening of New Mexico, we started the transition back to the office for some of
  our staff. We are following the Governor's guidance for retail establishments and keep
  occupancy at all of our offices to 25% or less.
  We continue to develop and expand our staff. When Rick Scroggins announced his
  retirement as Deputy Director at the end of 2018, I promoted Rod Ventura to take on that
  role. Rod has successfully made the transition from General Counsel to Deputy Director.
  At the same time, I promoted Susanne Roubidoux from Deputy General Counsel to
  General Counsel. Susanne is executing her new role very effectively. Recognizing the
  importance of communications to all of our efforts, we recently created the new position
 of Communications Director and lured Mariana La Roche to perform those duties. In the
 short time that Mariana has been at ERB, she has organized a webinar for July 1 retirees
 and is helping with our efforts to launch our new website. In addition, we hired a new
 Human Resources Director, Charlene Zalma, after Patrick Herrera decided to pursue
 another opportunity within state government. Charlene hit the ground running and has
 helped us restructure our agency so it is more efficient.
 We continue to make good progress on our project we began two years ago to find and
 correct data on our inactive members- our data cleanse project. As part of this project, we
 find and correct personal information of long inactive members. Having this data will
 assist us to be in compliance with Internal Revenue Service requirements for minimum
 distributions. This is a common issue for many pension plans as many members when
 they leave their jobs do not provide their pension plan with current address information.
 As a pension plan serving educational employees, I believe that education and
 professional development of our staff is important. In 2019, we worked with the
 incoming Director of the State Personnel Office (SPO) to change the SPO rule on what
 types of courses state agencies can reimburse their employees for. Until that time,
employees could only be reimbursed for classes that are directly related to their current
job. In December 2019, SPO changed its rule so that employees can be reimbursed for
any class that would benefit their agency. In order to show our employees that I support
their coursework, at the beginning of every semester I give each employee enrolled in a
class a gift card from Starbucks (purchased with my own funds) to help with their
studying.
Cybersecurity issues continue to be top of mind. We continue to have cybersecurity
insurance protection in place. Our Information Technology staff continue regular testing
of our staff to ensure their continued diligence of these threats. We are exploring locating
all of our servers in the cloud, to better protect them. In addition, this year we joined
Shared Assessments, a group of IT professionals from a wide variety of industries,
including retirement plans, who share best practices on issues such as dealing with the
risks posed by third parties that we work with, e.g. actuaries and software developers.
After ten years of continued effort, we finally received legislative approval to build a new
office building in Santa Fe. We outgrew our Santa Fe building many years ago and had to
find new rental offices in Santa Fe for our investment staff. With our new building, we
will finally have physical space for the internship program that I have not been able to



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pursue for lack of space to house additional staff. I have long believed that ERB should
host as many interns as possible to expose New Mexico students to job opportwiities in
investments, IT, and accounting.
This past year I have also worked with the Public Education Department and the
Superintendents Association on how to address the shortage of substitute and regular
teachers in New Mexico. We made suggestions to help with demand (allow teachers to be
paid out for unused sick leave) and supply (have school districts hire teachers to work
exclusively as substitutes).


4. Public Relations
  *Represents the system by attending meetings of various organizations.
  *Participates in activities of local, state, and national organizations engaged in activities
related to the system's operations.
  *Maintains effective relations with members of the legislative and executive branches.
 *Makes recommendations to the executive and legislature branches concerning system
programs activities.
  *Testifies before legislative bodies to promote ERB endorsed legislation.
  * Advises legislative committees on matters relating to ERB fund.
  *Maintains appropriate media relations.

Executive Director's Self-Rating for Public Relations: 4.8
Comments:

 Since my August 2018 performance evaluation, I have represented ERB before many
 organizations. The topics of my presentations include, but are not limited to, the
 importance of sustainability for ERB, ERB' s economic impact, Governmental
 Accounting Standards Board Statement 68, ERB operations, proposed legislation and the
 impacts of enacted legislation. The organizations include: Public Education Department
 Spring Budget Workshop; Department of Finance and Administration; Legislative
Finance Committee staff; Governor's office (Martinez and Lujan Grisham
administrations); University of New Mexico Retirees; Council of University Presidents;
New Mexico Association of Schoo] Budget Officers; New Mexico State University's
Education Designed to Generate Excellence in the Public Sector (EDGE); and the ERB
Stakeholders group.
Meetings regarding ERB general operations, including financial transparency, ERB's
economic impact, ERB's sustainability, proposed and enacted legislation have taken
place with the Legislative Finance Committee, Investments and Pensions Oversight
Committee, and the Legislative Education Study Committee. I have also presented our
budget to the Legislative Finance Committee, the House Appropriations and Finance
Committee, and to the Senate Finance Committee. In addition, I conducted an orientation
session in February 2019 for incoming members of the House of Representatives.
Immediately after Michelle Lujan Grisham was elected governor, I reached out to her
staff to brief them on ERB' s efforts to improve sustainability. I also met with her Chief of
Staff John Bingaman about the importance of improving sustainability. After the onset of
the pandemic related economic downturn, I worked with Bob Jacksha to develop a
presentation on pension obligation bonds because low interest rate environments are the
ideal time to issue these securities. We presented these materials to John Bingaman, the
Department of Finance & Administration Cabinet Secretary, and the Director of the



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 Legislative Finance Committee. We will continue education efforts on this during the
 interim legislative session.
 We continue to work on our relationship with the state's major newspapers: the
 Albuquerque Journal and the Santa Fe New Mexican. I saw that they were using
 insolvency (inability to pay obligations when due) and sustainability (ability to pay
 benefits and reach 100% funding within a reasonable length of time) interchangeably. I
developed a glossary of basic actuarial terms for them and they have found it quite useful.
 We continue to send them press releases on investment performance and they regularly
 publish articles on our performance.
 Beginning with the 2019 legislative session, we developed a social media presence. We
continued this practice during the 2020 legislative session. Mariana La Roche will use her
extensive experience in this area to publicize our efforts and engage our members.
 We continue to use our website as our primary connection with our members. Often
rumors circulate in the education community about ERB. Most recently members were
concerned that because of the state's fiscal situation, the legislature would "raid" the ERB
trust fund. We now have an Ask Jan feature on our website to respond to rumors or
questions our members have. We took a hiatus on our newsletter when our Outreach
Director left for a different opportunity within state government. We used the vacancy to
rethink how we want to conduct outreach and communications. It took us several months
to have the State Personnel Office and the Department of Finance & Administration to
approve our plan and hire our new Communications Director. We are now in the process
of hiring an outreach director. In the meantime, we have also created a Communications
Unit to better communicate with all constituencies of ERB- active members, retirees,
employers, legislators, media and other stakeholders.
Internal communications is a never-ending process. We continue to have a weekly
newsletter to update employees on agency operations, based on our weekly management
meetings. Once the majority of our staff began working from home, I have emailed a
daily update to all our staff. In addition to the news (if any) I include a newspaper article
on how to deal with the pandemic and its related uncertainty. I have received a great deal
of positive feedback from staff on these updates.
I have continued my involvement with the two main public pension organizations: the
National Association of State Retirement Administrators (NASRA) and the National
Council on Teacher Retirement (NCTR). In October 2017, I was selected to be a member
of the NCTR Executive Committee, their governing body. At the NCTR annual
conference in October 2019, I was elected as the Secretary/Treasurer of NCTR.

5. Personal and Professional Development
  *Active in public fund/investment community.
  *Attends conferences and other professional development opportunities to keep abreast
of changes in retirement plans and investment strategies.

Executive Director's Self-Rating for Personal and Professional Development:
Comments: 4.5
With my professional certifications as a Certified Public Accountant and a Certified
Employee Benefit Specialist, I am required to take many hours of continuing professional
education each year. I always endeavor to take coursework that is directly related to my
work. For example, this year I earned a certificate in cybersecurity from the American
Institute of Certified Public Accountants. I also regularly attend NASRA and NCTR




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conferences as they both provide high quality education and an opportunity to discuss
current issues with my peers from other retirement systems.
Other retirement systems face the same challenges that confront ERB. I ensure that ERB
maintains contacts and memberships with organizations that champion defined benefit
public pension plans. These organizations include NASRA, NCTR, the National Institute
for Retirement Security and the National Conference on Public Employee Retirement
Systems. Because ERB also administers a defined contribution plan, the Alternative
Retirement Plan, we now participate in the National Association of Government Defined
Contribution Administrators, which has a good information network and provides quality
training.
In the summer of 2018, the NMSU EDGE program asked me to develop content for and
teach a class on pensions and other post-employment benefits for their students. The first
session was in August 2018 and the next session will be this August. Their March session
was canceled due to the pandemic.
In January 2020, I was asked to be a member ofUNM's School of Public
Administration's Advisory group. The group will meet quarterly. We were supposed to
meet in March, but the session was postponed due to the pandemic.

6. Strategic Planning
  *Provides leadership to Board in development of plan design changes, investment
strategies, and policy development.

 Executive Director's Self-Rating for Strategic Planning: 4.8
 Comments:
This April our actuaries presented their experience study, based on our June 30, 2019
valuation report. Experience studies provide the Board the opportunity to review all of
the important assumptions that support our actuarial valuations and make adjustment, if
necessary. In the past we had done experience studies every two years, but with the
advice of our actuaries have changed this to every three years. The industry best practice
is to conduct an experience every five years; however, we have chosen to conduct them
more frequently to identify any changes that need to be made as soon as possible.
By lowering our inflation assumption from 2.5% to 2.3%, the Board also chose to lower
our investment return assumption from 7.25% to 7%. This has increased our funding
period from 47 years to 70 years. In the 2020 legislature, all of the revenue raisers that
were included in the Board's 2019 legislation were eliminated. We will try to get these
re-enacted because they are also important for equity reasons: all work in retirement
should be subject to contributions and all substitute teachers should be treated the same.
Governor Lujan Grisham has said that addressing ERB's sustainability will be a priority
for the 2021 session. We will provide her with the BBER report and other materials that
we have prepared that show that our members and retirees have borne the burden of prior
efforts to improve sustainability and the only needed reform is to increase the employer
contribution rate.
Bob Jacksha and I continue to work closely to identify cost effective investment
strategies for our portfolio. We have also worked on how to better streamline the
operations group that supports our investment staff. We sent the reorganization
paperwork to the State Personnel Office so we can make the necessary change to increase
efficiency and accuracy in our communications and reconciliations with our custody
bank. As noted earlier, we are now internally managing mid- and small cap stocks.




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As mentioned above, we have gone to the legislature in 2019 and 2020 to seek increases
in the employer contribution rate. In addition, with the sunsetting of the Return to Work
statute at the end of 2021, we have been proactive in quantifying that it is not :financially
rewarding for the vast majority of our members to participate in the Return to Work
program. We will be publicizing the calculator prepared by our actuaries so members can
see that for themselves and make the best decision on whether to suspend their retirement
or participate in Return to Work. This should help in resolving the thorny political issues
surrounding Return to Work.

7. Board Relations
   *Prepares and/or directs the preparation of written reports for Board approval related to
all activities in the proper discharge of the Board's fiduciary duties.
   *Apprises and advises the Board on financial, economic, operational, and political
developments.
   *Participates in projecting the actuarial solvency of the system and future costs of
various retirement provisions.
   *With the recommendations of legal counsel and ERB management, composes
proposals for rule changes to the ERB as needed.

 Executive Director's Self-Rating for Board Relations: 4.8
 Comments:
Consistent with the balance of my tenure at ERB, I keep the Board up to date on public
pension matters by sending relevant news articles on a weekly basis as well as the
presentations I make to legislative committees. At Board meetings, my staff and I present
information on ERB projects and operations to keep the Board informed about our
activities as well as financial, economic and political developments that affect ERB and
our members. We have continued to improve the depth of knowledge that the Board
receives to improve their understanding of our staffs work through staff presentations on
their area.
We regularly review our statutes to see how they can be improved. During the 2019
legislative session, we worked with Senator Steinborn to change our statutes so that
members who pass away without naming a beneficiary can have their retirement benefit
go to their spouse or domestic partner. This bill passed both houses and was signed by the
Governor.
As in prior years, I continue to communicate regularly with actuaries, fiduciary and tax
counsel, investment consultants and auditors to ensure that I am aware of pending
regulatory changes and emerging trends that may affect ERB and its long-term
sustainability. These professionals brief the Board and its committees, as appropriate. I
continue to take a proactive approach on these matters, rather than wait and to be asked
why we have not taken action. I have taken a consistently proactive stance on improving
sustainability by working with our consultants to prepare evidence on why our preferred
method, increasing employer contributions, is the best way to proceed.
All Board members are required to take 8 hours of training per year. Because Board
members have widely varying schedules and time constraints, I always try to provide a
wide variety of ways for Board members to fulfill their statutory requirements.


8. Overall Evaluation




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 Please provide a short narrative on each Board objective from last evaluation for
 Improving Performance as Executive Director:

 ]. To continue to strengthen communications with the media, constituents,
    and legislators.
    As noted earlier, I developed an actuarial glossary so reporters can have a better
    understanding of actuarial terms when they report on pension matters.
    We are now using social media (Facebook and Twitter) to keep our members
    apprised of ERB legislation and current events. We are in the process of launching a
    new website to serve as a resource for our members and constituents.
    I continue to work closely with legislators and their staff to keep them informed
    about ERB.

 2. To continue to strengthen and create a more positive public perception of ERB.
    I do this in all of my interactions with members, legislators and the public by being
    honest, prepared, ready to admit what I don't know and will follow up with the
    answer, and acting with integrity and in the best interests of ERB and our members.
 3. A written report of key activities to Board members at each Board meeting.
    I include a detailed report of agency activities, organized by functional group, in each Board
    packet.
 4. Develop tl strong public relations campaign on the economic benefits of ERB and
    the strengths of a defined benefit retirement plan.
    We have focused this communication effort on our members and legislators. We
    continue to include articles in our newsletter on ERB's economic impact and the
    importance of participating in a defined benefit retircn1..::nt plan. We also include
    economic impact information in our Popular Annual Financial Report (PAFR), a
    very brief summary of our Comprehensive Annual Financial Report. County level
    GDP data became available last December, so we will be able to provide this
    information to the legislature during this year's interim session. The importance and
    cost-effectiveness of defined benefit pension plans is also included in the orientation
    presentation for new legislators.
    Our soon to be launched website will have a resource section with articles from
    multiple sources on the cost-effectiveness and benefits of participating in a defined
    benefit pension plan.




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                                               U.S. Department of Justice
                                               Civil Rights Division
                                                             NOTICE OF RIGHT TO SUE WITHIN 90 DAYS

VIA EMAIL                                                    150 M Street, N.E.
                                                             Karen Ferguson , EMP, 4CON, Room 9.514
                                                             Washington, DC 20530

                                                             April 06, 2021

Ms. Jan H.C. Goodwin
c/o Merit Bennett, Esquire
The Bennett Law Group
460 St. Michel's Drive
Suite 703
Santa Fe, NM 87505

Re: EEOC Charge Against State of New Mexico, Dept. of Finance & Administration
No. 543202100368

Dear Ms. Goodwin:

    Because you filed the above charge with the Equal Employment Opportunity Commission, and the
Commission has determined that it will not be able to investigate and conciliate that charge within
180 days of the date the Commission assumed jurisdiction over the charge and the Department has
determined that it will not file any lawsuit(s) based thereon within that time, and because you through
your attorney have specifically requested this Notice, you are hereby notified that you have the right
to institute a civil action under Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.
2000e, et seq., against the above-named respondent.
   If you choose to commence a civil action, such suit must be filed in the appropriate Court within
90 days of your receipt of this Notice.
   The investigative file pertaining to your case is located in the EEOC Albuquerque District Office,
Albuquerque, NM.
  This Notice should not be taken to mean that the Department of Justice has made a judgment as to
whether or not your case is meritorious.
                                                          Sincerely,

                                                       Pamela S. Karlan
                                                 Principal Deputy Assistant Attorney General
                                                    Civil Rights Division

                                                 by    /s/ Karen L. Ferguson
                                                     Karen L. Ferguson
                                                Supervisory Civil Rights Analyst
                                                Employment Litigation Section


cc: Albuquerque District Office, EEOC
  State of New Mexico, Dept. of Finance & Administration

                                                                                                      EXHIBIT J
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                                               U.S. Department of Justice
                                               Civil Rights Division
                                                             NOTICE OF RIGHT TO SUE WITHIN 90 DAYS

VIA EMAIL                                                    150 M Street, N.E.
                                                             Karen Ferguson , EMP, 4CON, Room 9.514
                                                             Washington, DC 20530

                                                             May 14, 2021

Ms. Jan H. Goodwin
c/o Merit Bennett, Esquire
The Bennett Law Group
460 St. Michael's Drive
Suite 703
Santa Fe, NM 87505

Re: EEOC Charge Against State of New Mexico, Risk Management Division, et al.
No. 543202100483

Dear Ms. Goodwin:

    Because you filed the above charge with the Equal Employment Opportunity Commission, and the
Commission has determined that it will not be able to investigate and conciliate that charge within
180 days of the date the Commission assumed jurisdiction over the charge and the Department has
determined that it will not file any lawsuit(s) based thereon within that time, and because you through
your attorney have specifically requested this Notice, you are hereby notified that you have the right
to institute a civil action under Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.
2000e, et seq., against the above-named respondent.
   If you choose to commence a civil action, such suit must be filed in the appropriate Court within
90 days of your receipt of this Notice.
   The investigative file pertaining to your case is located in the EEOC Albuquerque District Office,
Albuquerque, NM.
  This Notice should not be taken to mean that the Department of Justice has made a judgment as to
whether or not your case is meritorious.
                                                          Sincerely,

                                                       Pamela S. Karlan
                                                 Principal Deputy Assistant Attorney General
                                                    Civil Rights Division

                                                 by    /s/ Karen L. Ferguson
                                                     Karen L. Ferguson
                                                Supervisory Civil Rights Analyst
                                                Employment Litigation Section


cc: Albuquerque District Office, EEOC
  State of New Mexico, Risk Management Division, et al.

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                                               U.S. Department of Justice
                                               Civil Rights Division
                                                             NOTICE OF RIGHT TO SUE WITHIN 90 DAYS

VIA EMAIL                                                    150 M Street, N.E.
                                                             Karen Ferguson , EMP, 4CON, Room 9.514
                                                             Washington, DC 20530

                                                             May 14, 2021

Ms. Jan H. Goodwin
c/o Merit Bennett, Esquire
The Bennett Law Group
460 St. Michael's Drive
Suite 703
Santa Fe, NM 87505

Re: EEOC Charge Against New Mexico Educational Retirement Board, et al.
No. 543202100484

Dear Ms. Goodwin:

    Because you filed the above charge with the Equal Employment Opportunity Commission, and the
Commission has determined that it will not be able to investigate and conciliate that charge within
180 days of the date the Commission assumed jurisdiction over the charge and the Department has
determined that it will not file any lawsuit(s) based thereon within that time, and because you through
your attorney have specifically requested this Notice, you are hereby notified that you have the right
to institute a civil action under Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.
2000e, et seq., against the above-named respondent.
   If you choose to commence a civil action, such suit must be filed in the appropriate Court within
90 days of your receipt of this Notice.
   The investigative file pertaining to your case is located in the EEOC Albuquerque District Office,
Albuquerque, NM.
  This Notice should not be taken to mean that the Department of Justice has made a judgment as to
whether or not your case is meritorious.
                                                          Sincerely,

                                                       Pamela S. Karlan
                                                 Principal Deputy Assistant Attorney General
                                                    Civil Rights Division

                                                 by    /s/ Karen L. Ferguson
                                                     Karen L. Ferguson
                                                Supervisory Civil Rights Analyst
                                                Employment Litigation Section


cc: Albuquerque District Office, EEOC
  New Mexico Educational Retirement Board, et al.

                                                                                                      EXHIBIT J
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                                               U.S. Department of Justice
                                               Civil Rights Division
                                                             NOTICE OF RIGHT TO SUE WITHIN 90 DAYS

VIA EMAIL                                                    150 M Street, N.E.
                                                             Karen Ferguson , EMP, 4CON, Room 9.514
                                                             Washington, DC 20530

                                                             May 14, 2021

Ms. Jan H. Goodwin
c/o Merit Bennett, Esquire
The Bennett Law Group
460 St. Michael's Drive
Suite 703
Santa Fe, NM 87505

Re: EEOC Charge Against Office of the Governor of New Mexico, et al.
No. 543202100485

Dear Ms. Goodwin:

    Because you filed the above charge with the Equal Employment Opportunity Commission, and the
Commission has determined that it will not be able to investigate and conciliate that charge within
180 days of the date the Commission assumed jurisdiction over the charge and the Department has
determined that it will not file any lawsuit(s) based thereon within that time, and because you through
your attorney have specifically requested this Notice, you are hereby notified that you have the right
to institute a civil action under Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.
2000e, et seq., against the above-named respondent.
   If you choose to commence a civil action, such suit must be filed in the appropriate Court within
90 days of your receipt of this Notice.
   The investigative file pertaining to your case is located in the EEOC Albuquerque District Office,
Albuquerque, NM.
  This Notice should not be taken to mean that the Department of Justice has made a judgment as to
whether or not your case is meritorious.
                                                          Sincerely,

                                                        Pamela S. Karlan
                                                  Principal Deputy Assistant Attorney General
                                                     Civil Rights Division

                                                 by     /s/ Karen L. Ferguson
                                                      Karen L. Ferguson
                                                 Supervisory Civil Rights Analyst
                                                 Employment Litigation Section


cc: Albuquerque District Office, EEOC
  Office of the Governor of New Mexico, et al.

                                                                                                      EXHIBIT J
